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 1                 THE COURT; And do you understand that the               1                THE COURT; All right. Now, pursuant to the Due

 2   maximum penalties for each of Counts I and II of the tax              2   Process Act, I confirm that the government has a continuing

 3   case are twelve months of imprisonment, a $100,000 fine or            3   obligation pursuant to Brady v. Maryland and its progeny to

 4   twice the gross gain or loss from the offense, whichever is           4   produce all exculpatory evidence and I order that it do so

 5   greater, one year of supervised release, restitution and a            5   at the appropriate time. The consequences for violating a

 6   $25 special assessment as well as costs of prosecution?               6   Brady obligation and/or my order could include, but are not
 7                 THE DEFENDANT: Yes, Your Honor.                         7   limited to, contempt proceedings, sanctions, referral to

 8                 THE COURT: All right. Now, Mr. Biden, you have          8   disciplinary counsel, adverse jury instructions, exclusion

 9   the right to be represented by an attorney in these matters,          9   of evidence and dismissal of the charges. Does the

10   that means if you can afford to, you can hire an attorney of         10   government understand that?

11   your own choice. If you can't afford to, you may ask the             11                  MR. WISE: Yes, Your Honor.

12   court to appointment an attorney to represent you. Do you            12                  THE COURT: Has all Brady material been
13   understand that?                                                     13    produced?

14                 THE DEFENDANT: Yes, Your Honor.                        14                  MR. WISE: Yes, Your Honor.

15                 THE COURT: All right. You are presently                15                  THE COURT: Mr. dark, any concerns about that?

16   represented by Mr. dark. Do you wish to continue that                16                  MR. CLARK: None whatsoever. Your Honor.

17   representation?                                                      17                  THE COURT; Thank you.
18                 THE DEFENDANT: Yes, Your Honor.                        18                  Pretrial release, what is the government's

19                 THE COURT: All right. Now, Mr. Biden, you have         19    position?
20   the right to a preliminary hearing in these cases. At that           20                  MR. WISE: The conditions that have been

21   hearing, the government would have to produce sufficient             21    recommended we agree with.

22   evidence to show that it has probable cause to believe that          22                  THE COURT: Any concerns about that, Mr. dark?

23   you committed the crimes with which you are being charged.           23                  MR.CLARK: No,Your Honor, we're in accordance.

24   At that hearing you would have the right to introduce                24                  THE COURT; You can't help yourself, you're just

25   evidence and to cross-examine any adverse witnesses who              25    going to keep jumping up,



                                                         6                                                                             8


 1   would be testifying against you. Do you understand that?              1                  MR.CLARK: I was taught at a hard school.

 2                 THE DEFENDANT: Yes, Your Honor.                         2                  THE COURT: I know. I couldn't even think if I

 3                 THE COURT: AH right. Now, I understand that             3    wasn't standing.

 4   you intend to plead guilty to the tax charges. Do I have              4                  I understand that pretrial release — I agree

 5   that right?                                                           5    that pretrial release is appropriate subject to the

 6                 THE DEFENDANT: Yes, Your Honor.                         6    following conditions which I will read into the record. The

 7                 THE COURT: All right. Do you understand that            7    Defendant must not violate federal, state, or local law

 8   if you plead guilty to those charges, you will be waiving             8    while on release.

 9   your right to a preliminary hearing?                                  9                  The Defendant must cooperate in the collection

10                 THE DEFENDANT; Yes, Your Honor.                        10    of a DNA sample if it is authorized by 34 United States Code
11                 THE COURT; I also understand that the plan for         11    Section 40702.

12   the gun charge is a Diversion Agreement. Counsel, do we              12                  The Defendant must advise the court or the

13   need to do anything regarding a preliminary hearing at this          13    pretrial services officer or some supervising officer in

14   point in light of the planned Diversion Agreement?                   14    writing before making any change in residence or telephone

15                 MR. WISE: No, Your Honor.                              15    number.

16                 MR. CLARK: We're in agreement with that. Your          16                  The Defendant must appear in court as required

17   Honor.                                                               17    and if convicted must surrender as directed to serve a

18                 THE COURT: All right. Mr. Biden, you are not           18    sentence that the Court may impose.

19   required to make any statements to the authorities. If you           19                  I also impose the following additional

20   had already made statements to the authorities, you may stop         20    conditions.

21   and not make any more. If you start to make a statement and          21                  Sir, you must submit to supervision by and

22   you change your mind, you may stop at any time. And any              22    report to supervision to the probation office in the

23   statement that you do make may be used against you. Do you           23    district in which you are residing. You must continue or

24   understand all of that?                                              24    actively seek employment. You must communicate in writing

25                 THE DEFENDANT; Yes, Your Honor.                        25    all international travel plans and provide supporting

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 1    documentation if requested to both the District of Delaware              1    get some understanding of what is being proposed so that I

 2    and the district in which you are residing. You must not                 2    can give due consideration to the determination that you all

 3    possess a firearm, destructive device or other weapon. You               3    are asking me to make. So I want to start with Criminal

 4    must not use alcohol. You must not use or unlawfully                     4    Action 23-274 involving the tax charges.

 5    possess a narcotic drug or other controlled substance                    5                  All right. Now, Mr. Biden, you told me that you

 6    defined in 21 United States Code, Section 802, unless                    6    intend to enter a plea of guilty in those cases, correct?

 7    prescribed by a licensed medical practitioner. I will                    7                  THE DEFENDANT: Yes, Your Honor.

 8    clarify, however, that marijuana is not legal under federal              8                  THE COURT: So it is my responsibility to make

 9    law and you are prohibited from using marijuana regardless               9    sure that that plea is a voluntary and knowing plea. And in

10    of whether it is legal or not in the state in which you are             10    order to do that, I first need to ask you a series of

11    or it is prescribed by a medical practitioner.                          11    questions. Before I ask you those questions, I am going to

12                You must submit to testing for a prohibited                 12    have you placed under oath to answer those questions

13    substance if required by the pretrial services officer or               13    truthfully. And it's important that you do answer those

14    supervising officer. Testing may be done with random                    14    questions truthfully because if you don't, any false answers

15    frequency and may include urine testing, the wearing of a               15    may be used against you in a separate prosecution for

16    sweat patch, remote alcohol testing system and/or any form              16    perjury. Do you understand that?

17    of prohibited substance screening or testing. You must not              17                  THE DEFENDANT: Yes, Your Honor.

18    obstruct, attempt to obstruct or tamper with the efficiency             18                  THE COURT: All right. Mr. Buckson, will you

19    or accuracy of prohibited substance screening or testing.               19    please swear in the Defendant.

20                Just give me a minute here.                                 20                  COURT CLERK: Will you please rise and raise

21                And you must participate in a program of                    21    your right hand. Please state and spell your full name for

22    inpatient or outpatient substance abuse, therapy, or                    22    the record.

23    counseling if directed by the pretrial services officer or              23                  THE DEFENDANT: Robert Hunter Biden,

24    the supervising officer. Do you understand those                        24    R-0-B-E-R-T, H-U-N-T-E-R, B-I-D-E-N.

25    conditions, sir?                                                        25                  ROBERT HUNTER BIDEN, was duly sworn under oath.



                                                              10                                                                            12


 1                THE DEFENDANT: Yes, Your Honor.                              1                  THE COURT: Thank you, sir. You may be seated.

 2                THE COURT: All right. Any objection or                       2    All right. Now, sir, if at any time you want to confer with

 3    comments on the conditions imposed?                                      3    your counsel when I'm asking you questions, you may, just

 4                MR. CLARK: None from the defense. Your Honor.                4    let me know. All right?

 5                MR. WISE: Nor from the United States, Your                   5                  THE DEFENDANT: Thank you, Your Honor.

 6    Honor.                                                                   6                  THE COURT: How old are you?

 7                THE COURT; All right. Mr. Biden, violating any               7                  THE DEFENDANT: Fifty-three years old, Your

 8    of the conditions of release may result in the immediate                 8    Honor.

 9    issuance of a warrant for your arrest, revocation of your                9                  THE COURT; How far did you go in school?

10    release, an order for detention, forfeiture of any bond or              10                  THE DEFENDANT: Law school. Your Honor.

11    prosecution for contempt of court, and it could result in               11                  THE COURT: When did you graduate from law

12    imprisonment, a fine, or both. Do you understand that?                  12    school?

13                THE DEFENDANT; Yes, Your Honor.                             13                  THE DEFENDANT: 1996.
14                THE COURT: Anything I left out or anything I                14                  THE COURT: You're member of the bar?

15    need to address with respect to the initial appearances?                15                  THE DEFENDANT: Yes, Your Honor.

16                MR. WISE: Not from the United States, Your                  16                  THE COURT: Any particular?
17    Honor.                                                                  17                  THE DEFENDANT: District of Columbia and
18                MR.CLARK: No, Your Honor.                                   18    Connecticut, Your Honor.

19                THE COURT: Now, we have two cases and two                   19                  THE COURT: Thank you. And you speak and

20    agreements and I understand that the Diversion Agreement is             20    understand English?

21    not something that is typically before the Court, but you               21                  THE DEFENDANT: Yes, Your Honor.

22    all did send it to me so I do want to talk about that a                 22                  THE COURT: Are you currently or have you

23    little bit. There are some provisions in those agreements               23    recently been under the care of a physician or psychiatrist?

24    that are not standard and are different from what I normally            24                  THE DEFENDANT: No, Your Honor.

25    see, so I think we need to walk through these documents and             25                  THE COURT: Have you ever been hospitalized or

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 1   treated for any mental illness or addiction to narcotic                  1   complete that program or did you leave that program prior to

 2   drugs of any kind?                                                       2   completion?

 3                 THE DEFENDANT: I have attended treatment                   3                THE DEFENDANT: I completed that program, the
 4   facilities for addiction. Your Honor.                                    4   inpatient portion of it. Your Honor.

 5              THE COURT: Okay. So that was included in my                   5                THE COURT: Okay. And after you completed that

 6   question which is treatment for addiction to drugs.                      6   program, did you then continue to use drugs for some period

 7                 THE DEFENDANT: Yes, Your Honor.                            7   of time?
 8                 THE COURT: So I need you to tell me about that.            8                THE DEFENDANT: I did. Your Honor.
 9   How many times have you, to the best of your recollection,               9                THE COURT: All right. So when was the last

10   been treated whether inpatient or outpatient?                           10   time — so the fall of 2018 was the last time that you

11                 THE DEFENDANT: Beginning in 2003 with the                 11   received any treatment, right?

12   inpatient. Your Honor, I have been to I believe close to six            12                THE DEFENDANT: Yes, Your Honor.

13   inpatient over the course of twenty years.                              13                THE COURT: Okay. When was the last time that
14                 THE COURT: All right.                                     14   you used, ingested, or were under the influence of any drug,

15                 THE DEFENDANT: And I have also been in                    15   legal or illegal medication or alcoholic beverage of any

16   outpatient programs also during that time,                              16   kind?
17                 MR. CLARK: Just to be clear, it's numerous,               17                THE DEFENDANT! June of 2019, Your Honor.

18   Your Honor.                                                             18                THE COURT: All right. And so just to be clear,

19                 THE COURT; I'm not going to walk through every            19   you are not presently under the influence of any drug, legal

20   single one, but I just want to make sure I have some                    20   or illegal, medication or alcoholic beverage of any kind, is

21   understanding.                                                          21   that correct?

22                 All right. Now, sir, each time that you were              22                THE DEFENDANT: No,Your Honor,

23   treated in an inpatient facility, what was it for?                      23                THE COURT: Well, let's just be clear because,

24                 THE DEFENDANT: For addiction to alcohol                   24   you know, people might look at this transcript, I said is

25   primarily originally, Your Honor.                                       25   that correct and you said no.



                                                           14                                                                         16


 1                 THE COURT: Okay. And have you ever been in an              1                THE DEFENDANT: I'm sorry, yes, Your Honor,

 2   inpatient treatment program where you were treated for                   2   excuse me,

 3   something else other than alcoholism?                                    3                THE COURT: And sir, do you understand what's

 4                 THE DEFENDANT: Drugs, also. Your Honor.                    4   going on and why we're here today?

 5                 THE COURT: Okay. And I'm just not sure how                 5                THE DEFENDANT: Yes, I do understand.

 6   these programs work. I'm sorry. Is it for any particular                 6                THE COURT: Counsel, do you have any doubt as to

 7   drug that you're treated or is it just sort of —                         7   your client's competence?

 8                 THE DEFENDANT: No.                                         8                MR. CLARK: None whatsoever.

 9                 THE COURT: Everything.                                     9                THE COURT: Any concerns from the government?

10                 THE DEFENDANT: Everything, Your Honor.                    10                MR. WISE: No, Your Honor.

11                 THE COURT: Okay. And when was the most recent             11                THE COURT: Based on the information that I

12   time that you were in treatment? Well, are you currently in             12    received, Mr, Biden, I find that you are competent and

13   treatment for your alcohol or drug issues?                              13   capable of proceeding here today.

14                 THE DEFENDANT: No, I'm not, Your Honor.                   14                So now I want to talk about the misdemeanor

15                 THE COURT: When was the last time that you were           15   information which contains the tax charges that you are

16   in treatment?                                                           16    pleading guilty to. Have you received a copy of the

17                 THE DEFENDANT: I believe the fall of 2018.                17    information pending against you?

18                 MR. CLARK: I think that's right, Your Honor.              18                THE DEFENDANT: Yes, Your Honor.

19                 THE COURT: Okay.                                          19                THE COURT: Have you fully discussed those

20                 THE DEFENDANT: Your Honor, sorry.                         20   charges and the case in general with Mr. dark?

21                 THE COURT: That's okay. So the fall of 2018,              21                THE DEFENDANT: Yes, Your Honor.

22   and was that inpatient or outpatient?                                   22                THE COURT: Are you fully satisfied with the
23                 THE DEFENDANT: Inpatient, and then also                   23   counsel, representation, and advice you received from him in

24   outpatient.                                                             24   this case?

25                 THE COURT: Okay. And when you — did you                   25                THE DEFENDANT; Yes, Your Honor.

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 1 THE COURT: You have the right to have the                              1 MR. WISE: So the rule itself is silent on the

 2 information read out loud at this hearing, but you can also            2 factors, but the case law suggest that the factors — that

 3 waive that reading. Would you like me to ask the government            3 the rejecting or accepting the plea would relate to the

 4 to read it or do you waive that?                                       4 Court's traditional role at sentencing, so if, for instance,

 5 THE DEFENDANT: I waive that. Your Honor.                               5 the Court thought that the charge bargain which is what

 6 THE COURT: Okay. Next, the Memorandum of Plea                          6 ll(c)(l)(A) does, if the Court thought the charge bargain
 7 Agreement which was handed up to me. First, let me ask                 7 did not adequately reflect the seriousness of the offense

 8 counsel, what provision of the rules is this plea agreement            8 which would affect the Court's ability to sentence, then

 9 being presented under?                                                 9 there is case law that says under those circumstances the

10 MR. WISE; It's presented under Rule                                   10 Court could reject the charge bargain that was contained in

11 ll(c)(l)(B), Your Honor, of the Federal Rules of Criminal             11 the (c)(l)(A) plea.
12 Procedure,                                                            12 THE COURT; When you say the charge bargain, you

13 THE COURT: All right. And so just so we're                            13 mean the bargain by which the Defendant pleads guilty and
14 clear, and Mr, dark, you agree with that?                             14 the government agrees not to bring other charges or to drop

15 MR. CLARK: I do, Your Honor.                                          15 charges that have already been brought?

16 THE COURT: All right. Just so we're clear,                            16 MR. WISE: Exactly, Your Honor.

17 this is not a plea under Rule ll(c)(l)(C), what is often              17 THE COURT: All right, And in looking at an
18 called a C plea which binds me to impose a specific sentence          18 ll(c)(l)(A) plea, would I need to consider or are those
19 if I accept the plea, is that correct?                                19 factors that you just sort of talked about, is that usually

20 MR, WISE; It is, Your Honor.                                          20 referred to as in the interest of justice?

21 MR. CLARK: We agree, Your Honor.                                      21 MR. WISE: They are, Your Honor.

22 THE COURT: So in your view, what Is my role                           22 THE COURT: All right. You can be seated.

23 here under Rule ll(c)(l)(B)?                                          23 So yesterday I received from third parties a

24 MR. WISE: Your Honor has two roles as Your                            24 letter with almost 900 pages of attachments in one case,and

25 Honor has already begun to determine that the plea is                 25 a memorandum of law with hundreds of more pages of exhibits



                                                        18                                                                         20


      knowing and voluntary under Rule 11(B), and to apprise the          1 in the other. I have not had time to review those

      Defendant that you are not bound by the recommendation of           2 submissions. I understand that there is some objection to

 3 the United States in this case pursuant to Rule ll(c)(3)(B).           3 them and I will give the Defendant and the government if it

 4 THE COURT: That's it?                                                  4 wishes an opportunity to respond to those if they choose.

 5 MR. WISE; That's it.                                                   5 But even though I have not been able to review the

 6 THE COURT: All right. Now, is it my role to                            6 third-party submissions, I do understand that they request

 7 accept or reject this plea?                                            7 that X reject the plea agreement based on information that

 8 MR. WISE: It is not. Your Honor.                                       8 the filers submit cast doubt on the investigation performed

 9 THE COURT: Now, let me just ask you this.                              9 or the charges brought or both.

10 Would my role be different if this were a plea under Rule             10 So let me ask you this. If I were to think that

11 ll(c)(l)(A)?                                                          11 the facts presented in those submissions or even the facts

12 MR.WXSE: Yes, Your Honor, it would.                                   12 that have been presented to me in this case and the attached

13 THE COURT: How would you say it's different?                          13 agreements suggest that the investigation was lacking or

14 MR. WISE: Both Rule ll(c)(l)(A) pleas and                             14 that more serious charges should have been brought, is it

15 ll(c)(l)(C) pleas require the Court to either accept, reject          15 within my power to ask or direct the United States Attorney

16 or defer on the plea agreement itself, not on the plea which          16 or the Attorney General of the United States to redo the

17 is governed by like I said a separate provision of the rule           17 investigation or bring different or more serious charges?

18 which is 11(B), but in terms of the Court's role vis-a-vis            18 MR. WISE: I don't believe so. Your Honor, no.

19 the agreement is to accept, reject or defer.                          19 MR. CLARK: We agree. Your Honor, it would raise

20 THE COURT: All right. And I do want to talk                           20 obviously massive separation of powers questions if that was

21 about that a little bit further, but when we talk about the           21 to be taken.

22 plea, but you can sit down for now.                                   22 THE COURT: Okay. And isn't that decision about
23 Now, wait, let me ask you this. If it's a                             23 what charges to bring for the prosecutor as part of the

24 ll(c)(l)(A) plea, what is your understanding of the factors           24 Executive Branch?

25 that I need to look at?                                               25 MR. WISE: It is, Your Honor,

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 1 MR. CLARK; We concur, Your Honor.                                         1 any challenge to the information based on venue and agrees

 2 THE COURT: All right. So if there were a                                  2 to plead guilty in the United States District Court for the
 3 failure in the investigation or the charges brought were                  3 District of Delaware to Counts I and II of the information

 4 inappropriate, how would that get addressed in our form of                4 which charge him with willful failure to pay tax in
 5 government?                                                               5 violation of Title 26 United States Code Section 7203.

 6 MR. WISE: Through the political process. Your                             6 Paragraph 2 describes how the Defendant
 7 Honor.                                                                    7 understands that the maximum penalties for each of Counts I

 8 MR. CLARK; In particular, Your Honor, the                                 8 and II are as Your Honor previously indicated, twelve months

 9 Executive Branch is charged fully with investigating, making              9 of imprisonment, a $100,000 fine or twice the gross gain or

10 prosecutorial discretion decisions, and indeed that's where              10 loss from the offense, whichever is greater, one year of

11 the term prosecutorial discretion comes from, it is vested               11 supervised release, restitution and a $23 special assessment

12 in the Executive Branch.                                                 12 per count and the cost of prosecution which the parties

13 THE COURT: AH right. Okay. Let's walk                                    13 stipulate is zero.

14 through some of the provisions of the plea. Memorandum of                14 Paragraph 3 describes the essential elements

15 Plea Agreement. Do you have it in front of you, sir?                     15 that the government would have to prove if the case went to

16 THE DEFENDANT: Yes, Your Honor.                                          16 trial and those are one, that the Defendant had a duty to

17 THE COURT: It's six pages long and has an                                17 pay tax. Two, that the tax was not paid at the time

18 attached Exhibit 1 which is four pages long as well as a                 18 required by law. And three, that the failure to pay was

19 sealed attachment referenced as Attachment A. Attachment A               19 willful. The Defendant knowingly and voluntarily and
20 is a document that is not public, but it is a standard                   20 intelligently admits his guilt to each of these elements and
21 document that is filed in all cases in this district and is              21 further admits to the information contained in the statement

22 not filed only in connection with this case. The Memorandum              22 of facts which is attached to the memorandum as Exhibit 1.

23 of Plea Agreement has three signatures on the final page,                23 Paragraph 4 provides that the Defendant is
24 Is one of those signatures yours?                                        24 pleading guilty to Counts I and II because he is in fact
25 THE DEFENDANT: Yes, Your Honor.                                          25 guilty.


                                                         22                                                                          24


                 THE COURT: Okay. And when did you sign it?                  1 Paragraph 5 contains certain stipulations under

 2 THE DEFENDANT: This morning, Your Honor.                                  2 the sentencing guidelines. Paragraph 5A provides that the

 3 THE COURT: And before you signed it, did you                              3 amount of loss as to Counts I and II, so a combined loss is

 4 have an opportunity to read it and discuss it with your                   4 no less than $1,199,524 and no greater than $1,593,329.

 5 attorney?                                                                 5 Subparagraph B provides that the conduct set

                 THE DEFENDANT: I did. Your Honor.                           6 forth in the statement of facts which is Attachment A to the

                 THE COURT: Are you satisfied with the advice                7 Diversion Agreement filed, which will be filed today does
     and counsel you received regarding the plea agreement.                  8 not constitute relevant conduct pursuant to United States

                 THE DEFENDANT: I am,Your Honor.                             9 Sentencing Guideline l(b)(1.3). Paragraph C provides that
                 THE COURT: All right. Let's have a side-bar up             10 provided that the United States does not subsequently learn

     here.                                                                  11 of conduct by the Defendant inconsistent with the acceptance

                 (Sealed Attachment A side-bar discussion under             12 of responsibility, that it will not oppose a two level
     separate cover.)                                                       13 decrease pursuant to U.S. Sentencing Guideline 3(e)(l.l)(a)

                 (End of sealed Attachment A discussion.)                   14 for acceptance. And further, that should it be determined

                 THE COURT: All right. Let's go back on the                 15 that the Defendant's offense level is 16 or greater prior to
     unsealed portion of the record.                                        16 the application of the two level reduction for acceptance

                 So I'm now going to ask the prosecutor to read             17 that the United States will move to reduce the sentence,the

     the essential terms of the plea agreement. Sir, I'll ask               18 guideline by one additional level pursuant to U.S.

     you to listen carefully to what he says because when he's              19 Sentencing Guideline 3(e)(l.l)(b) for a total reconduction
     finished, I'm going to ask you if the agreement as recited             20 of three levels.

     by him reflects the deal that you believe you reached with             21 It is understood and agreed by the parties that
     the government,                                                        22 these stipulations are not binding upon either the probation

                 Mr. Wise.                                                  23 office or the Court.

                 MR. WISE: Thank you. Your Honor.                           24 Second, that the Court may make factual and

                 Paragraph 1 provides that the Defendant waives             25 legal determinations that differ from these stipulations

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 1 that may result in an increase or decrease in the sentencing              1 initial questions.

 2 guideline range and the sentence that may be imposed.                     2 Paragraph 5A says that the amount of losses no

 3 Paragraph 6 provides that for reasons to be                               3 less than 1,100 — well, actually before we ask that,

 4 articulated at or near the time of sentencing, the United                 4 because I'm going to ask how it relates to the facts, why

 5 States will recommend a sentence of probation.                            5 don't you go through Exhibit 1 you referenced, why don't you

 6 Paragraph 7 provides that the United States                               6 put Exhibit 1 on the record.
 7 retains the right to defend the rulings of the District                   7 MR, WISE: Yes, Your Honor.

 8 Court in any subsequent proceeding.                                       8 At all times relevant to the instant

 9 Paragraph 8 outlines at length the sentencing                             9 Information, the Defendant, Robert Hunter Biden, hereafter

10 procedure which I believe the Court will review with the                 10 Biden, was an attorney and businessman with lucrative

11 Defendant in more detail.                                                11 domestic and international business interests. From 2017 to

12 Paragraph 9 contains a broad appellant waiver                            12 2019, he served on the board of a Ukrainian energy company

13 which I also understand the Court will review with the                   13 and a Chinese private equity fund. He further negotiated

14 Defendant in greater detail,                                             14 and executed contracts for business and legal services that

15 Paragraph 10 provides that the Defendant agrees                          15 paid millions of dollars of compensation to him and/or his

16 to pay a $50 special assessment at the day of sentencing.                16 domestic corporations, Owasco, PC and Owasco, LLC, Through

17 Paragraph 11 provides that the memorandum                                17 at least early 2017, he also was employed by a prestigious

18 expressly incorporates Attachment A which is attached and                18 multi-national law firm in an "of counsel" capacity. For

19 filed under seal and that the government as Your Honor has               19 this work, he earned substantial income, totaling more than

20 said routinely files such an attachment even though it may               20 $2.3 million in 2017 and $2.1 million in 2018.
21 or may not continue additional terms. To the extent it                   21 Biden also has a well-documented and

22 does, however, the parties acknowledge and agree to be bound             22 long-standing struggle with substance abuse. Following the

23 by it.                                                                   23 death of his brother in 2015, Biden relapsed and over time

24 Paragraph 12 addresses restitution under the                             24 progressed from alcohol to abusing illegal drugs, including

25 Mandatory Victim Restitution Act, And the Defendant agrees               25 crack cocaine in 2016. This contributed to the collapse of



                                                          26                                                                        28


  1 to the entry of the restitution order for the full amount of             1 his marriage, with his divorce finalized in March 2017, as

 2 the victims loses attributable to his activities as ordered               2 well as the collapse of his most significant professional

  3 by the Court which is expected to be zero because the self               3 relationship in Fall 2017. Nonetheless, in 2017, despite

 4 assessed tax due at the time of filing and associated                     4 his addiction, Biden successfully entered into business

  5   interest and penalties have been paid to the Internal                  5 ventures and landed legal clients, earning millions of

  6   Revenue Service by a third party on behalf of the Defendant.           6 dollars. By his own telling in a memoir published in 2021,

  7   However, the Defendant understands that an unanticipated               7 Biden's substance abuse worsened in 2018,a year that

  8   amount of a restitution order will not serve as grounds to             8 included a move to Los Angeles and what he has described as

  9 withdraw his guilty plea. The parties further understand                 9 a "spring and summer of nonstop debauchery." Even during

10 that should the Internal Revenue Service determine there are             10 this period, however, Biden continued to earn money and

11 additional taxes due and owing for the tax years 2014                    11 exercise control over his personal and corporate finances.

12 through 2019, they are not subject to the terms of this                  12 Federal income tax returns and payments are due

13 agreement and for the purposes of this memorandum the sole               13 on or about April 15th of each year for the prior calendar

14 victim of Counts I and II is the United States Treasury.                 14 year. Biden, like many other taxpayers, routinely requested

15               And finally paragraph 13 provides that it is               15 an automatic extension to file his returns, pushing the due

16    further agreed by the parties that the memorandum and                 16 date for a tax return to on or about October 15th. An

17    Exhibit A together with the sealed attachment supersedes all          17 extension of time to file a return, however, does not extend

18    prior promises, representations and statements of the                 18 the deadline for payment of taxes, which remain due on the

19    parties, that the memorandum may be modified only in writing          19 April filing date.
20    signed by all the parties and that any and all promises,              20 During calendar year 2017, Biden earned

21    representations, and statements made prior to or after this           21 substantial income. Including: just under $1 million from a

22    memorandum are null and void and have no affect whatsoever            22 company he formed with the CEO of a Chinese business

23    unless they comport with the subsequent written                       23 conglomerate; $666,666 from his domestic business interests;

24    modifications and provisions of this paragraph.                       24 approximately $664,000 from a Chinese infrastructure

25               THE COURT: Thank you. I did have a couple of               25 investment company; $500,000 in director's fees from a

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 1 Ukrainian energy company; $70,000 relating to a Romanian                 1 Biden continued to earn handsomely and spend

 2 business; and $48,000 from the multi-national law firm.                  2 wildly in 2018. He received a little over $2.6 million in

 3 Throughout tax year 2017, Biden worked with a DC                         3 business and consulting fees from the company he formed with

 4 and Maryland based accountant to prepare his individual and              4 the CEO of a Chinese business conglomerate and the Ukrainian

 5 corporate tax returns. In 2018, this accountant (who died                5 energy company. However, without the structure of a stable

 6 in 2019) prepared Biden's 2017 corporate and individual                  6 business partner and still in the throes of addiction, Biden
 7 income tax returns and throughout the fall repeatedly                    7 essentially ignored his tax obligations, withholding only

 8 attempted to provide them to Biden for review and signature.             8 approximately $38,465, less than six percent of the taxes

 9 These efforts included directly contacting Biden, reaching               9 owed. Tax returns and filings for tax year 2018 were due on

10 out to his administrative assistant, and sending copies to              10 April 15th, 2019. On that date, Biden traded emails with

11 his former business partner. The former business partner                11 his DC accountant and his attorney about seeking an

12 reviewed the returns and sent several emails to Biden in                12 extension. The accountant advised Biden of his obligation

13 which he commented on their substance and reminded Biden of             13 to make a tax payment on that date, irrespective of the

14 his filing obligations. The former business partner left                14 extension to file a return. Ultimately, the extension was

15 the final returns for Biden at Biden's office. Despite                  15 filed, making the return due on October 15, 2019, Biden,

16 these actions, Biden neither signed nor submitted the                   16 however, paid nothing. As with tax year 2017, at the time

17 individual or corporate income tax returns to the Internal              17 his 2018 tax payment was due, Biden continued to have

18 Revenue Service.                                                        18 substantial income and the ability to pay his tax liability,
19 Not only did the accountant timely prepare                              19 having received payments totaling approximately $758,000

20 Biden's individual and corporate tax returns, the accountant            20 during March and April 2019, By late May, Biden had spent

21 repeatedly encouraged Biden to timely pay the taxes                     21 almost the entire sum on personal expenses, including large

22 associated with the 2017 tax returns. Beginning in                      22 cash withdrawals, payments to or on behalf of his children,

23 April 2018 and continuing into October 2018, the accountant             23 credit card balances, and car payments for his Porsche.

24 advised Biden to make his tax payments, noting approximately            24 After numerous programs and trips to rehab,

25 $600,000 owed by Biden personally and an additional $204,000            25 Biden got sober in May 2019, the same month he married his



                                                           30                                                                       32


 1 owed by Owasco, PC. Biden told the accountant he could pay               1 current wife. He has remained sober since, Biden remained

 2 $25,000 in April 2018 towards his taxes, but no such payment             2 in California and spent much of 2019 painting and developing

 3 was made to the Internal Revenue Service. His large tax                  3 plans for his memoir, which he began working on through the

 4 liability stemmed in part from the fact that over the course             4 fall and into the winter. During summer 2019, he was sued

 5 of 2017, Biden began withdrawing substantial funds outside               5 in two different domestic-relations lawsuits, both seeking

 6 of Owasco, PC'S established payroll system, which had been               6 payment of support obligations, He still did not, however,

 7 created, in part, to ensure that Biden had sufficient                    7 make preparations to file or actually file either his 2018

 8 withholdings to timely pay any outstanding tax liability.                8 individual or corporate income tax returns on or about

 9 The end of year liability should not have come as a                      9 October 15, 2019, the extension due date,

 0 surprise. At the time of those withdrawals, Biden's                     10 In or around November 2019, Biden engaged a

 1 business partner advised him that these transfers, made                 11 California accountant to prepare his individual and

12 without withholding, would result in a significant tax                  12 corporate Income tax returns for 2017 and 2018. The

13 liability at year end.                                                  13 California accountant began gathering materials and started

14 Despite his large outstanding tax liability and                         14 preparing Biden's 2017 and 2018 returns in early 2020. By

15 profligate spending, on or about April 17, 2018, the due                15 that time, the domestic relations lawsuits had progressed,

16 date for 2017 tax payments, Biden did, in fact, have the                16 and having failed to do so previously, Biden was under court

17 funds available to pay his outstanding 2017 tax liability               17 order to provide his tax returns or face potential sanctions

18 for both his personal and corporate returns. On or about                18 including imprisonment. On or about January 27, 2020, Biden

19 March 22, 2018, Biden received a $1 million payment into his            19 signed a representation letter for the California

20 Owasco, LLC bank account as payment for legal fees for                  20 accountants, averring that he was providing the accountants

21 Patrick Ho, and $939,000 remained available as of tax day.              21 with truthful and accurate infocmation and acknowledging his

22 Over the next six months Biden would spend almost the                   22 responsibility for the accuracy of those tax returns. Over

23 entirety of this balance on personal expenses, including                23 the days that followed, Biden participated in a series of

24 large cash withdrawals, transfers to his personal account,              24 meetings with the California accountants and identified

25 travel, and entertainment.                                              25 business and personal expenses in connection with his tax

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 1 returns. During this process, Biden miscategorized certain             1 THE COURT: All right. Thank you. Now I did
 2 personal expenses as legitimate business expenses, resulting           2 have a few questions.

 3 in a reduction in his tax liability. At the same time, the             3 Paragraph 5A says that the amount of loss as to

 4 California accountants overreported Biden's income, which              4 Counts I and II including the relevant conduct as defined in

 5 partially offset this reduction.                                       5 sentencing guideline is no less than $1,199,524, and no

 6 Or on about February 18th, 2020, Biden filed his                       6 greater than $1,593,329. Is that the combined loss or the
 7 individual and corporate income tax returns with the                   7 loss for each count?

 8 Internal Revenue Service for tax years 2017 and 2018. On               8 MR. WISE: Combined loss. Your Honor.

 9 his 2017 Form 1040, Biden reported $2,376,436 in total                 9 THE COURT: All right. In Exhibit 1, there are
10 income and a self-assessed tax due of $710,598, of which              10 references to taxes paid by a third party on Mr. Biden's

11 $125,909 was timely paid, leaving a balance due and owing of          11 behalf of $955,800, and $956,632, as well as $492,000 in
12 $581,713. On his 2017 Form 1120 for Owasco, PC, Biden                 12 2016 and $197,000 for 2019. 3ust looking at 2017 and 2018
13 reported gross receipts of $2,698,041 and a self-assessed             13 which are the subject of this case, those numbers add up to

14 tax due and owing of $13,630. On his 2018 Form 1040, Biden            14 more than $1.9 million. Can you help me square that with

15 reported $2,187,286 in total income and a self-assessed tax           15 the relevant conduct,

16 of $659,366, of which $38,465 was timely paid, leaving a              16 MR. WISE: So the amount that was paid by the
17 balance due and owing of $620,901. No additional payments             17 third party includes significant penalties and interests
18 were included at the time of filing. On his 2018 Form 1120            18 which we have not included in the loss stipulation that's in

19 for Owasco, PC, Biden reported gross receipts of $2,659,014           19 paragraph 5A. The paragraph 5A is the taxes and there is a

20 and a self-assessed tax due and owing of $4,247,                      20 dispute as to what the taxes were based on the business

21 Approximately a year-and-a-half later, on or                          21 deductions and that's something that the parties will

22 about October 18th, 2021, a third party paid the Internal             22 address in their sentencing memorandum, but this number is

23 Revenue Service $955,800 to cover Biden's self-assessed               23 loss without inclusion of the penalties and interest,

24 individual tax liability with interest and penalties for tax          24 THE COURT: Is that standard?
25 year 2017 and $956,632 to cover Biden's self-assessed                 25 MR, WISE: Yes, Your Honor.



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 1 individual tax liability with interest and penalties for tax           1               THE COURT: Did you want to say something?
 2 year 2018.                                                             2               MR. CLARK; I was going to say it's a relevant

 3 In addition, in or around February of 2020,                            3   guideline, Your Honor, for a failure to pay case omits

 4 Biden's California accountants discovered that Biden's 2016            4    penalties and interests from the calculation of the tax

 5 Form 1040 had not been filed. The return was originally                5 table loss. And there is a dispute about where in the range

 6 prepared in or around October 2017 and showed $15,520 in               6 it goes, but the explanation, penalties and interest are not

 7 taxes due and owing. Though it was delivered to Biden at               7    properly included under this guideline for this offense.

 8 Biden's office, this return was not filed with the Internal            8               THE COURTi And if it were tax evasion, would

 9 Revenue Service. After learning in 2020 that the Form 1040             9   those be included?

10 for 2016 remained unfiled, Biden filed a Form 1040 on                 10               MR. CLARK; It's my understanding that they

11 June 12, 2020. For tax year 2016, Biden reported $1,580,283           11   would be. Your Honor.

12 in total income and self-assessed tax due of $492,895, of             12               MR. WISE: Yes, Your Honor.

13 which $447,234 was timely paid, leaving a balance due and             13               THE COURT: Okay. Paragraph Sb refers to the

14 owing of $45,661. Biden did not include a payment with this           14    Diversion Agreement, That's the Diversion Agreement

15 return. On or about October 18, 2021, this liability, plus            15    contemplated in the Criminal Action 23-61, the felony gun
16 accrued interest and penalties, was also fully paid by a              16    charge?

17 third party.                                                          17               MR. WISE: Yes, Your Honor.

18 Finally, after seeking an extension, Biden                            18               THE COURT: All right. Paragraph 12 refers to

19 timely filed his 2019 Form 1040 on or about October 15th,             19    restitution, and says the self-assessed tax due at the time

20 2020. He did not, however, pay his estimated tax due when             20    of filing and the associated interest and patents have been

21 filing for an extension as required by law. For tax year              21    paid to the Internal Revenue Service by a third party on

22 2019, Biden reported $1,045,850 in total income and a                 22    behalf of the Defendant. What does self-assessed mean?

23 self-assessed tax due and owing of $197,372. On October 18,           23               MR. WISE: Xt means the amount when the returns

24 2021, this liability, plus accrued interest and penalties,            24 were prepared that, the return prepared determine what was

25 was also fully paid by the same third party.                          25 owed based on the income that was reported and deductions

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 1 and credit.                                                             1 that's what I had at this moment.

 2 MR. CLARK: I think, Your Honor, based on that                           2 Mr. Biden, does the written agreement as

 3 and all this process, these numbers are based on payout                 3 summarized by Mr. Wise accurately reflect the agreement you

 4 numbers that were obtained from the IRS. Self assessment is             4 have reached with the government?

 5 a process by which a return filer writes a return, says this            5 THE DEFENDANT: Yes, Your Honor.

 6 is how much tax I owe. There was a lot of process here                  6 THE COURT: Has anyone threatened you or forced
 7 between the IRS and these returns and at the end of the day             7 you into entering this written agreement?

 8 a payout number was obtained by the IRS and that number was             8 THE DEFENDANT: No, Your Honor.

 9 paid.                                                                   9 THE COURT; Has anyone made you any promises

10 THE COURT: So this isn't--that's what I'm                              10 that are not contained in the written agreement?

11 trying to figure out, is there someone still looking into              11 MR, CLARK; Your Honor, with the exception of

12 that to see if the self-assessed number is accurate, or do             12 the Diversion Agreement —

13 you know that it's zero?                                               13 THE COURT: We're not making an exception. I

14 MR. WISE: So the self-assessed number again is                         14 want to know, has anyone made you any promises that are not

15 the amount on the return plus the interest and penalties               15 contained in the written Memorandum of Plea Agreement?

16 that were derived through the payoff. As the statement of              16 MR. CLARK; Yes, there are promises from the

17 facts addresses,there is a dispute as to what was                      17 government in the Diversion Agreement, Your Honor,

18 self-assessed or what the self-assessed number would be for            18 THE COURT: And sir, are you relying on the

19 tax year 2018 and that will be addressed in the sentencing             19 promises made in the Diversion Agreement in connection with

20 memoranda.                                                             20 your agreement to plead guilty?

21 MR. CLARK: To be clear, the dispute is we think                        21 THE DEFENDANT: Yes, Your Honor.

22 it's lower. As the statement of facts recites, there was               22 THE COURT: And if the Diversion Agreement were

23 actually an overstatement of Mr. Biden's income that year,             23 not valid or unenforceable for any reason, would you enter

24 I mean, my understanding is all of the monies that the IRS             24 into the Memorandum of Plea Agreement?

25 takes a position Mr, Biden owes as a result of every tax               25 THE DEFENDANT: No, Your Honor.



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 1 year being discussed have been paid based on their                      1 THE COURT: AH right. So we're going to

 2 calculation, if that answers Your Honor's question,                     2 discuss that agreement in a bit, but for now let me say —

 3 MR. WISE: So our position. Your Honor, is there                         3 by the way, I didn't get a copy of paragraph 15 of the

 4 are additional — there are deductions that were taken that              4 agreement, but the parties provided me with a copy of that

 5 were improper and so that's why for the loss purposes,                  5 agreement prior to this hearing, so that's what I'm going to

 6 putting aside what the payoff number was in our sentencing              6 quote from at the moment.

 7 memorandum, we will address those. The IRS in arriving at               7 Paragraph 15 of the Diversion Agreement states

 8 the payoff number didn't —                                              8 the United States agrees not to criminally prosecute Biden

 9 THE COURT: Well, I'm just asking because you                            9 outside of the terms of this agreement for any federal

10 said it's expected to be zero, why is it expected to be zero           10 crimes encompassed by the attached statement of facts,

11 if you're telling me that the numbers might be wrong?                  11 Attachment A to the Diversion Agreement, and the statement

12 MR. WISE: Because that is the payoff amount                            12 of facts attached as Exhibit 1 to the Memorandum of Plea

13 that the IRS gave to the Defendant which is sort of a                  13 Agreement filed this same day. This agreement does not

14 process that produces that that is separate from the                   14 provide any protection against prosecution for any future

15 criminal investigation and essentially divorced from it.               15 conduct by Biden or by any of his affiliated businesses.

16 That's why the agreement doesn't bind the IRS if they then             16 And just so we're clear, I think you already

17 make a decision essentially for additional restitution that            17 answered this, sir, but are you relying on that promise In

18 could occur.                                                           18 connection with your agreement to accept the Memorandum of

19 THE COURT: Why do you say it's expected to be                          19 Plea Agreement and plead guilty?

20 zero?                                                                  20 THE DEFENDANT: Yes, Your Honor.

21 MR. WISE: Because as of the payoff number that                         21 THE COURT: If that provision were not valid or
22 was given, there is no at this moment restitution owed to              22 not enforceable, would you accept the Memorandum of Plea

23 the IRS.                                                               23 Agreement?
24 THE COURT; All right. So those are my initial                          24 THE DEFENDANT: No, Your Honor.

25 questions, I may have some more as we go through this, but             25 THE COURT: If you had no immunity from the

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 1 government, perhaps even a different prosecutor and the                1 MR. CLARK: Yes.

 2 government could bring a felony tax evasion charge or drug             2 THE COURT: How about I give you guys an
 3 charges against you, would you still enter the plea                    3 opportunity so we can make sure we're on the same page

 4 agreement and plead guilty to these tax charges?                       4 because part of my charge here is to make sure that the

 5 THE DEFENDANT: No, Your Honor.                                         5 Defendant knows what he's pleading to,

 6 THE COURT: All right. So I need some help here                         6 MR. CLARK: We appreciate it,Your Honor.

 7 because you all told me this was a plea under Rule                     7 COURT CLERK: All rise.
 8 H(cKl)(B) and not (c)(l)(A), but yet I have this provision             8 (A brief recess was taken.)

 9 that I would think is normally in a plea agreement. So tell            9 THE COURT: All right. Please be seated. Where

10 me, how do these agreements relate? Are they part of a                10 are we?
11 package deal?                                                         11 MR. CLARK: Your Honor, I want to apologize for

12 MR. WISE: So, Your Honor, the United State's                          12 maybe my unartful phrasing for some of the issues that came

13 position is that the agreements stand alone by their own              13 up a minute ago. Perhaps I can explain the Defendant's

14 terms and both agreements include their last paragraph that           14 position and that may clarify things. There are two

15 says that with this one caveat —                                      15 agreements in this case. They are both very important to

16 THE COURT: This is a big caveat, though, if                           16 the Defendant. One is a plea agreement that the Court has

17 you're telling me Rule ll(c)(l)(B) doesn't give me any                17 before it and my client is ready to enter a plea to that

18 authority to look at this, (c)(l)(A) refers to, you know,             18 plea agreement without contingency, without reservation, and

19 having an agreement not to prosecute. That's why I'm                  19 without connection. There is another agreement which is a

20 looking at this, I'm not saying that you're wrong, but I              20 Diversion Agreement which —

21 need to understand this,                                              21 THE COURT: Right. So let me just ask you, if
22 MR. WISE: Sure, So Your Honor, again, our view                        22 that Diversion Agreement were not valid or were

23 is the plea agreement stands alone. There is no charge                23 unenforceable for some reason, would he enter this plea?

24 bargaining in the plea agreement, period. And that's what             24 MR. CLARK; He is ready to live by the terms of
25 they have agreed to. The Diversion Agreement —                        25 that agreement —



                                                         42                                                                         44


 1 THE COURT: But he would not agree, Just so I                           1 THE COURT: If that Diversion Agreement did not
 2 understand, sir, you would not agree to that plea agreement            2 exist, he would be willing to live by the terms of the plea

 3 if you didn't get some immunity from other charges, is that            3 and plead guilty? I have concerns about that Diversion

 4 right?                                                                 4 Agreement so I'm asking you, if it were not valid, if it

 5 MR. CLARK: Speaking for my client, that's                              5 were unenforceable, would he plead to the memorandum of

 6 correct. Your Honor.                                                   6 plea?
 7 THE COURT; I didn't mean that to be a                                  7 MR. CLARK: Based on our understanding of the

 8 rhetorical question. So you're trying to tell me that                  8 Diversion Agreement, which is a bilateral agreement between

 9 that's separate, but I think — and I understand why he's               9 the Defendant and the government which the government has

10 saying no, I wouldn't — that isn't separate to me, I need             10 reaffirmed to me it will stand by, then yeah, he would enter

11 them both.                                                            11 the plea.
12 MR. WISE: That's the intention with the                               12 THE COURT; So you're not answering my question.

13 agreement he signed.                                                  13 You're saying well, we think it's valid and enforceable.

14 THE COURT: So the intention of the agreement he                       14 I'm asking you, if it were not, go with me here, if that

15 signed was that it would be completely separate and if that           15 agreement were not valid and enforceable, if that agreement

16 Diversion Agreement were not valid or unenforceable and he            16 did not exist and he could not rely on it, would he enter

17 were on the hook for other charges that he would still be             17 the memoranda of plea?

18 pleading guilty?                                                      18 MR. CLARK: You're asking for a hypothetical

19 MR. WISE: That's right, because that's what the                       19 from me. Your Honor.

20 final paragraph of the plea agreement says he's agreeing to,          20 THE COURT: Yes, I'm asking that because -

21 that the plea agreement stands on its own without any                 21 MR. CLARK: Yes, my client would resolve this

22 additional promises outside the four corners of that                  22 case on these terms in the hypothetical situation that exist

23 agreement.                                                            23 without that Diversion Agreement. I want to be clear that

24 THE COURT: Do you guys need to talk about this                        24 it is the parties' position that there is a Diversion

25 for a few minutes?                                                    25 Agreement between the parties which is binding. But take

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 1   that out of today's proceeding and my client is ready to                 1                MR. WISE: It can be.

 2   enter a plea under the plea agreement.                                   2                THE COURT: And if it were included in the
 3               THE COURT: All right. Let me ask you those                   3   Memorandum of Plea Agreement, would that make this plea

 4   questions again, Mr. Biden. If the Diversion Agreement were              4   agreement one pursuant to Rule ll(c)(l)(A)?
 5   not valid and enforceable for any reason, would you enter                5                MR. WALLACE: It would.

 6   the Memorandum of Plea Agreement?                                        6                THE COURT: In your view, that would change the
 7               THE DEFENDANT: Yes, Your Honor.                              7   analysis of what I needed to do in evaluating whether to

 8               THE COURT; And are you relying on the promise                8   accept this plea or not, right?

 9   in the Diversion Agreement not to prosecute you in                       9                MR. WISE: It would.

10   connection with your agreement to accept the Memorandum of              10                THE COURT: And so let's just understand this.

11   Plea Agreement and plead guilty?                                        11   If it were that, then my role would be to accept or reject

12               THE DEFENDANT: No,Your Honor.                               12   the plea, right?

13               THE COURT: And so if you had no immunity from               13                MR. WISE; It would.

14   the government through that Diversion Agreement and the                 14                THE COURT: What happens if I accept the plea,
15   government could bring felony tax evasion charges or drug               15   we go forward to sentencing?

16   charges against you, would you still enter the plea                     16                MR. WISE: Yes.

17   agreement and plead guilty to these tax charges?                        17                THE COURT: And what happens if I reject the
18               THE DEFENDANT: Yes, Your Honor.                             18    plea?
19               THE COURT: AH right. Now, I want to talk a                  19                MR. WISE: Then we — this is one of the issues

20   little bit about this agreement not to prosecute. The                   20   with charge bargaining.

21   agreement not to prosecute includes — is in the gun case,               21                THE COURT: Because there is a waiver of venue,

22   but it also includes crimes related to the tax case. So we              22                MR. WISE: Well, there is a waiver of venue, but

23   looked through a bunch of diversion agreements that we have             23    also, and this has been addressed by some courts outside of

24   access to and we couldn't find anything that had anything               24   this circuit, because of the separation of powers, if the

25   similar to that.                                                        25    Court were to reject a (c)(l)(A) on its view that the


                                                           46                                                                          48


 1               So let me first ask, do you have any precedent               1    charges should be different —

 2   for agreeing not to prosecute crimes that have nothing to do             2                THE COURT: Well, what if I were to reject the
 3   with the case or the charges being diverted?                             3    (c)(l)(A) plea on the grounds that it includes an agreement
 4               MR. WISE: I'm not aware of any. Your Honor.                  4    not to prosecute, that as we're going to talk about in a few

 5               THE COURT: Do you have any authority that says               5    minutes, I don't really understand the scope of.

 6   that that's appropriate and that the probation officer                   6                MR. WISE: So -

 7   should agree to that as terms, or the chief of probation                 7                THE COURT: I mean, forget all the

 8   should agree to that as terms of a Diversion Agreement?                  8    investigation, what charges were brought, I think that the

 9               MR. WISE: Your Honor, I believe that this is a               9    parties have made clear that we live in a system of

10   bilateral agreement between the parties that the parties                10    separation of powers, those powers are given to the

11   view in their best interest, I don't believe that the role              11    Executive Branch. Right?

12   of probation would include weighing whether the benefit of              12                MR. WISE: Right.

13   the bargain is valid or not from the perspective of the                 13                THE COURT: So I don't mean to violate the

14   United States or the Defendant.                                         14    separation of powers or do anything unconstitutional. I'm

15               THE COURT: So have you ever seen — I think I                15    trying to figure out what my role is and what the
16   just asked you this, but have you ever seen a Diversion                 16    appropriate rule is that applies to this.

17   Agreement where the agreement not to prosecute is so broad              17                MR. WISE: Right.

18   that it encompasses crimes in a different case?                         18                THE COURT: Okay. And so I am trying to

19               MR. WISE: No. And I would say. Your Honor, I                19    understand if I were to reject the plea, I'm not saying I am

20   don't think it is broad in the sense that —                             20    going to, I have not — for anyone in the back, I have not

21               THE COURT: We're going to talk about that. You              21    made that determination, but if I were to reject the plea,

22   can sit down,                                                           22   just tell me what happens.

23               All right. Now, is an agreement not to bring                23                MR. WISE: So then we have two charges against

24   charges or an agreement to drop charges typically something             24    the Defendant and they're misdemeanors, so he doesn't need

25   that is included in a Memorandum of Plea Agreement?                     25    to be indicted and we go forward and there is a trial on

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 1 those charges, and there is a possibility that there could             1 prosecution, non-prosecution agreement, which generally the

 2 be additional charges brought.                                         2 Court doesn't necessarily weigh in on. I don't think it was

 3 THE COURT: Related to the tax issues?                                  3 the — we are not asking the Court to rule in any way on the

 4 MR. WISE: Yes.                                                         4 Diversion Agreement. The diversion as far as I understand

 5 THE COURT: Do you agree with that, Mr. dark,                           5 it has been approved by probation, there is a — you've

 6 what would happen? Again, I want to make sure I'm not                  6 arraigned the Defendant on the instrument and I believe that
 7 saying that's my decision.                                             7 process will go forward.

 8 MR. CLARK: I understand. Your Honor. I don't                           8 THE COURT: We have to talk about the Diversion
 9 necessarily disagree. I'm not aware of any additional                  9 Agreement because you have included me into the Diversion

10 charges that could validly be brought with regard to the tax          10 Agreement, so we are going to talk about that. But I am

11 charges. Again, without getting into the whole                        11 just still, you know, normally — so we have two agreements,

12 investigation, but I do think there is some context that's            12 we have a plea agreement where you're saying Judge, we're

13 important here. The D.S. Attorney's Office and me spent               13 all here in front of you for him to plead. You're saying I

14 five years in meeting after meeting, hours, ten hour long             14 don't even get to accept it, I guess I'm supposed to rubber

15 meetings going through my client's taxes on a line-by-Iine            15 stamp it under Rule (c)(l)(B). But then it would be a plea
16 basis, and this is the disposition the parties came to after          16 under Rule (c)(l)(A) if the provision that you have put in
17 a five-year investigation that was pursued with unbelievable          17 the Diversion Agreement which you do not have anyplace for

18 diligence and doggedness. And so first of all, I don't                18 me to sign and it is not in my purview under the statute to

19 think there are any other charges to be brought. I think,             19 sign, you put that provision over there. So I am concerned

20 you know, we thought that just like in any compromise                 20 that you're taking provisions out of the agreement, of a

21 situation, we had valid arguments with regard to these                21 plea agreement that would normally be in there. So can you

22 charges, but my client undertook to plead guilty to them              22 — I don't really understand why that is.

23 because it was the right disposition for all the parties              23 MR. WISE: So the bargain that was reached by
24 after extensive negotiation, and so yeah, I think we would            24 the parties was the Plea Agreement that is in front of Your
25 have two filed informations and the Court and the parties             25 Honor, which is a (c)(l)(B) as I mentioned, where there is


                                                       50                                                                       52


 1 would figure out how to proceed on those informations and              1 only a recommended sentence, that is — that is the Plea

 2 that would be the rest of the process.                                 2 Agreement —

 3 THE COURT: All right. So you said there might                          3 THE COURT: Well, it's not, because you do

 4 be additional charges. Are you at liberty to tell us what              4 reference — you reference the Diversion Agreement in the

 5 you're thinking those might be or is that just a                       5 Plea Agreement.

 6 hypothetical that there might be?                                      6 MR. WISE: Not in the Plea Agreement.

 7 MR. WISE: It was a hypothetical response to                            7 THE COURT: You do. I asked you if paragraph 5B
 8 your question.                                                         8 referred to the Diversion Agreement and you said yes.

 9 THE COURT: Is there an ongoing investigation                           9 MR. WISE: Only insofar as it's not relevant

10 here?                                                                 10 conduct.

11 MR. WISE: There is.                                                   11 THE COURT: You reference it in the Plea
12 THE COURT; May I ask then why if there is we're                       12 Agreement, right?
13 doing this piecemeal?                                                 13 MR. WISE: But it doesn't incorporate it.

14 MR. WISE: Your Honor may ask, but I'm not in a                        14 THE COURT: And in the Diversion Agreement, you
15 position where I can say.                                             15 reference the Memorandum of Plea Agreement, right?
16 THE COURT: Okay. So you can sit down.                                 16 MR. WISE: Only part of it.
17 I think what I'm concerned about here is that                         17 THE COURT: And you say that the "in the
18 you seem to be asking for the inclusion of the Court in this          18 Diversion Agreement when you say there is not going to be

19 agreement, yet you're telling me that I don't have any role           19 any prosecution, you say that's not just prosecution on the

20 in it, and you're leaving provisions of the plea agreement            20 gun charge which is the subject of the Diversion Agreement,

21 out and putting them into an agreement that you are not               21 you say also no prosecution with respect to anything in the

22 asking me to sign off on. So I need you to help me                    22 statement of facts attached to the memorandum of plea,

23 understand why this isn't in the written plea agreement.              23 right.
24 MR.CLARK; If I may. Your Honor. I mean, the                           24 MR. WISE: Yes.

25 original conception here was something like a deferred                25 THE COURT: All right. Okay. So I don't really
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 1 understand, though, why that's not part of the Plea                      1 for the years described in the factual statement to the Plea

 2 Agreement.                                                               2 Agreement. And I think we cannot bring for the firearms

 3 MR. WISE: Because by the terms of the Plea                               3 charges based on the firearm identified in the factual

 4 Agreement, the only function, the Diversion Agreement —                  4 statement to the Diversion Agreement,

 5 well, it has no function but the parties negotiated that                 5 THE COURT; All right. So there are references

 6 their view, and it's their view, probation can take a                    6 to foreign companies, for example, in the facts section.

 7 different view. Your Honor can take a different view, their              7 Could the government bring a charge under the Foreign Agents

 8 view is the firearms offense should not be considered                    8 Registration Act?
 9 relevant conduct for calculating the guidelines related to               9 MR. WISE: Yes.

10 the tax offense, that is all that 5(b) says. It does not                10 THE COURT: I'm trying to figure out if there is
11 incorporate the paragraph 15 or any part of the Diversion               11 a meeting of the minds here and I'm not sure that this

12 Agreement, it simply says our view is the Diversion                     12 provision isn't part of the Plea Agreement and so that's why

13 Agreement, the firearm offense should not be considered                 13 I'm asking.

14 relevant conduct in calculating the guidelines.                         14 MR. CLARK: Your Honor, the Plea Agreement —

15 I think practically how this would work. Your                           15 THE COURT: I need you to answer my question if

16 Honor, is if Your Honor takes the plea and signs the                    16 you can. Is there a meeting of the minds on that one?

17 Diversion Agreement which is what puts it into force as of              17 MR. CLARK: As stated by the government just

18 today, and at some point in the future we were to bring                 18 now, I don't agree with what the government said.

19 charges that the Defendant thought were encompassed by the              19 THE COURT: So I mean, these are contracts. To

20 factual statement in the Diversion Agreement or the factual             20 be enforceable, there has to be a meeting of the minds. So

21 statement in the Plea Agreement, they could move to dismiss             21 what do we do now?

22 those charges on the grounds that we had contractually                  22 MR. WISE: Then there is no deal.

23 agreed not to bring charges encompassed within the factual              23 THE COURT: All right. I guess then the
24 statement of the Diversion Agreement or the factual                     24 question is where does that leave us? So what do we need to

25 statement of the tax charges.                                           25 do? Do you guys need some time to talk? Do you need me to



                                                           54                                                                        56


 1 MR. CLARK: That's my understanding. Your Honor,                          1 set a date — do we need to talk about a preliminary hearing

 2 we would be enforcing a contract with the Department of                  2 since we didn't really need to do one with the agreement?

 3 Justice.                                                                 3 MR. CLARK: We'll waive the preliminary hearing.

 4 THE COURT: I don't understand how you have an                            4 As far as I'm concerned, the Plea Agreement is null and

 5 agreement not to pursue other charges in the case, the                   5 void. You know, we'll have — we are going to have to

 6 misdemeanor case, and you say that is not part of his Plea               6 discuss things with the government.

 7 Agreement.                                                               7 THE COURT: All right. So I think we're on the

 8 MR. WISE: Because the Plea Agreement does not                            8 clock now. So what should we do? Do you want me to set a

 9 include that.                                                            9 date for pretrial motions? Do you want to exclude a little

10 THE COURT: All right. So let's talk a little                            10 bit of time so that you have some time to talk? What do you

11 bit more about this. To the extent that the agreement —                 11 want to do?
12 you can sit down,                                                       12 MR. CLARK; I think we would need thirty days
13 To the extent that the agreement not to                                 13 after the trial clock to figure out what's going on.

14 prosecute is promised, do the parties have some                         14 THE COURT: AH right. I agree. I know that
15 understanding what the scope of that agreement is?                      15 this has come as a little bit of a curve ball, but I think
16 MR. WISE: Yes, Your Honor.                                              16 that having you guys talk some more makes sense, and we will

17 THE COURT: No, tell me, like specifically what                          17 exclude the time up through — so the thirty days takes us

18 does it include. You said that there is an investigation, I             18 to the Friday before Labor Day. Do you want that or do you

19 don't know what that is, but you must know that if there are            19 want the following week?

20 particular charges that could be brought based on the facts             20 MR. CLARK: I think that's fine. Your Honor.

21 that are there.                                                         21 THE COURT: So we'll exclude up through
22 MR. WISE: So I can tell you what I think we                             22 September 1st, you guys can get me a status report then. I

23 can't charge. I can't tell you what the ongoing                         23 think it does make sense in the interest of justice to do

24 investigation is. So, for instance, I think based on the                24 so. We'll get a status report and then we'll figure out

25 terms of the agreement, we cannot bring tax evasion charges             25 where we are.

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 1                MR.CLARK: Your Honor, can we ask you to take                     1   Let me just take a look here. I mean, part of the issue

 2   ten minutes and see whether we can somehow make any headway                   2   that I'm having is understanding, you know, regardless of

 3    on this?                                                                     3   whether this is a plea under subsection B or subsection A,

 4                THE COURT; Okay.                                                 4   it has to be a knowing plea and I'm already faced with the

 5                MR.CLARK; Thank you,Your Honor.                                  5   Defendant under oath saying both that he would not enter the

 6                COURT CLERK: All rise.                                           6   Memorandum of Plea Agreement if the Diversion Agreement were

 7                (A brief recess was taken.)                                      7   not valid, and that he would. And so I'm a little bit

 8                THE COURT: All right. Please be seated. Where                    8   confused about that. So I think we can work through that.

 9    are we?                                                                      9   But let's take a look at some of the rest of this.

10                MR.CLARK: Your Honor, we have had some                          10                All right. Sir, other than what we have just

11    discussion between the parties to try to clarify the                        11   discussed, are there any other promises that have been made

12    understanding and I just want to kind of summarize where we                 12   to you to entice you to enter the Memorandum of Plea

13    are and if the government's counsel wants to correct me.                    13   Agreement?

14    The parties have taken the position that the Diversion                      14                THE DEFENDANT: No,Your Honor.

15    Agreement is a separate agreement from the Plea Agreement.                  15               THE COURT: Do you understand that this is the

16    The Diversion Agreement is a bilateral contract between the                 16   time to tell me of any promises not in the record or of any

17    parties. Your Honor has asked the parties what their                        17   threats that have been made because after today you won't be

18    understanding of the paragraph 15 of the Diversion Agreement                18   able to withdraw your plea based on information that you

19    is. I think there was some space between us and at this                     19   could have shared with me here?

20    point, we are prepared to agree with the government that the                20                THE DEFENDANT: Yes, Your Honor.

21    scope of paragraph 15 relates to the specific areas of                      21                THE COURT: Do you understand that the plea —

22    federal crimes that are discussed in the statement of facts                 22   terms of the Plea Agreement are merely recommendations to

23    which in general and broadly relate to gun possession, tax                  23   me, that I can reject those recommendations without

24    issues, and drug use.                                                       24   permitting you to withdraw your plea and impose a sentence

25                THE COURT: So are you going to rewrite that?                    25   that is harsher or longer or more severe than the one that



                                                                  58                                                                           60


 1                MR. CLARK: The government says that's what it                    1   you may anticipate?

 2    means and Your Honor asked for what the parties agree.                       2                THE DEFENDANT: Yes, Your Honor.

 3                THE COURT: I'm just looking at the language of                   3                THE COURT; Are you pleading guilty of your own

 4    that. So you're comfortable with that's what it means even                   4   free will because you are, in fact, guilty?

 5    though the language of that seems substantially broader?                     5                THE DEFENDANT: Yes, Your Honor.

 6                MR.CLARK: Your Honor, I just put on the record                   6                THE COURT: All right. Now I want to walk

 7    what I have —                                                                7   through some of the specific provisions of the agreement.

 8                THE COURT: You didn't just answer yes so that                    8   First, venue. Do you have the agreement in front of you?

 9    also — so yes, you are comfortable that that provision                       9                THE DEFENDANT: Yes, Your Honor.

10    means that it only relate and for what period of time?                      10                THE COURT: All right. So paragraph 1 states

11                MR. WISE: It would be the period of time in the                 11   that you waive any challenge to the information based on

12    statement of fact, both statement of facts.                                 12   venue. Do you understand that absent that waiver, you could

13                THE COURT: Help me out with that.                               13   challenge this Court being the appropriate Court to hear

14                MR. WISE; '14 to -19 for the tax offenses and                   14   these charges?

15    the drug — and the admission of drug use in that period and                 15                THE DEFENDANT: Yes, Your Honor.

16    then the firearms is obviously specifically identified in                   16                THE COURT: By entering this plea you are giving

17    the time period in which that was possessed.                                17   up that challenge?

18                THE COURT: All right. So the defense agrees                     18                THE DEFENDANT: Yes, Your Honor.

19    that the agreement not to prosecute only includes the time                  19                THE COURT: Did you discuss that provision with

20    period from 2014 to 2019, it only includes tax charges in                   20   your counsel?

21    that time period, drug charges in that time period, and the                 21                THE DEFENDANT: Yes, Your Honor.

22    particular — the firearms charges that relate to this                       22                THE COURT: Again, are you satisfied with the

23    particular firearm?                                                         23   advice that you received?

24                MR. CLARK: Yes, Your Honor.                                     24                THE DEFENDANT: Yes, Your Honor.

25                THE COURT; All right. So you can be seated.                     25                THE COURT; Now, next, in paragraph 2, Mr. Wise

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 1 went over the maximum penalties for Counts I and II when he              1 worked there?

 2 summarized the essential terms and I mentioned those to you              2 THE DEFENDANT: Your Honor, I think I was at

 3 earlier when we were doing the initial plea. Do you                      3 Boise Schiller 2010, maybe, was when I started, but I am not

 4 understand what the maximum penalties are for each of the                4 positive of that. That's what I believe.

 5 counts that's pending against you?                                       5 THE COURT: Okay. And were you in an of counsel

 6 THE DEFENDANT: Yes, Your Honor.                                          6 position that whole time?
 7 THE COURT: Do you need me to go through them                             7 THE DEFENDANT: Yes, Your Honor.

 8 one more time or are you okay?                                           8 THE COURT: All right. Now, it says then that

 9 THE DEFENDANT: No, Your Honor, thank you.                                9 you — for the work you did, you earned 2.3 million in 2017

10 THE COURT; Paragraph 3. Paragraph 3 list the                            10 and 2.1 million in 2018. Now, you left Boise Schiller in

11 essential elements of Counts I and II that the government               11 2017, right?
12 would have to prove. Specifically for each count the                    12 THE DEFENDANT: Yes, Your Honor.

13 government would have to prove beyond a reasonable doubt                13 THE COURT: So, can you tell me how — I'm

14 that the Defendant, you, had a duty to pay a tax. Two, the              14 trying to understand the 2018 $2.1 million.

15 tax was not paid at the time required by law. And three,                15 MR. CLARK: My understanding, Your Honor, is

16 that your failure to pay was willful. Do you understand                 16 that sentence picks up the work described in the last couple

17 that if I accept your guilty plea, the government will not              17 of sentences, not just the work for Boise Schiller.

18 have to prove anything?                                                 18 THE COURT: Well, Mr. Biden actually knows.

19 THE DEFENDANT: Yes, Your Honor.                                         19 THE DEFENDANT: Yeah, exactly, Your Honor, I

20 THE COURT: Paragraph 3 also references the                              20 believe what the government intended for that sentence was

21 statement of facts attached to the Plea Agreement as                    21 that it was the total income, not just as it relates to my

22 Exhibit 1. Mr. Wise read those into the record and that is              22 capacity for Boise Schiller.

23 something that is not common in my experience. I just want              23 THE COURT: So for all your work -

24 to ask you about some of those, I'm not going to go through             24 THE DEFENDANT: For this work, it's all of the

25 all of those facts but I want to ask them because it is part            25 things that are listed above there.



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 1 of the Plea Agreement that is being presented to me and                  1 THE COURT: All right. Thank you. Okay. In

 2 particularly given our earlier discussion about the fact                 2 the next paragraph, it says you have a well-documented and

 3 that those facts are incorporated into the agreement not to              3 long-standing struggle with abuse and you did tell me

 4 prosecute.                                                               4 already, I'm not going to ask you again about your efforts

 5 All right. So, do you have those in front of                             5 to treat that. But when we talk about well-documented, is

 6 you?                                                                     6 there a particular thing that we're looking at for where

 7 THE DEFENDANT: Yes, Your Honor.                                          7 it's documented or is that just based on your discussions?

 8 THE COURT: All right. So in the very first                               8 THE DEFENDANT: Well, I believe the government

 9 paragraph of Exhibit 1, it says towards the end, it says                 9 is referring to a book that I wrote about my struggles with

10 through at least early 2017 - I think before that, in the               10 addiction in that period of time in my life. And quite

11 first paragraph, in the second sentence it says from 2017 to            11 possibly other news outlets and interviews and things that

12 2019, you served on the board of Ukrainian energy company               12 have been done.

13 and a Chinese private equity fund. Can you tell me what                 13 THE COURT; Okay. In that paragraph, it refers

14 those companies were?                                                   14 sort of towards the middle, it refers to your struggles with

15 THE DEFENDANT: The Ukrainian energy company was                         15 addiction led to the collapse of your most significant

16 Burisma, and the Chinese private equity fund was Bohai,                 16 professional relationship. Is that referring to the law

17 Harvest and Rosemont.                                                   17 firm or something else?

18 THE COURT: And some of this I'm asking just so                          18 THE DEFENDANT: My business relationship, my

19 I understand because there are other references to Ukrainian            19 business relationships, all of my business relationships,

20 companies and Chinese companies and I can't tell if they're             20 ultimately including the law firm. I had a business that

21 the same company or not, so that's part of why I'm asking               21 was Rosemont Seneca advisors, and I had a long-standing

22 you. Later in that paragraph, it says through at least 2017             22 business partner from the inception of that company that I

23 you were employed by a prestigious multi-national law firm              23 started. And others that all collapsed during that period

24 in an of counsel position. It says through at least 2017.               24 of time.

25 What were the years, do you remember like how long you                  25 THE COURT: So one of the businesses was

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 1   Rosemont Seneca. Were there others that collapsed? The one             1   end of the second paragraph, starting four lines from the

 2    reference here to Owasco.                                             2   bottom in the middle of the line, the paragraph talks about

 3                THE DEFENDANT: Virtually everything collapsed.            3   your tax liability. And it says the end of year liability

 4   Owasco is the holding company for all of the other companies           4   should not have come as a surprise. Do you see that?

 5   below there.                                                           5               THE DEFENDANT: I'm sorry, I'm just trying -

 6                THE COURT: Okay. And who was your business                6               THE COURT: That's okay. Take your time.

 7    partner?                                                              7               THE DEFENDANT: Yes, I see that here.

 8                THE DEFENDANT: A gentleman named Eric Schwerin.           8               THE COURT: It says it should not have come as a

 9                THE COURT: All right. The fourth paragraph                9   surprise. It wasn't a surprise, is that right?

10   says during the calendar year 2017, you earned substantial            10               THE DEFENDANT: Yes, Your Honor.

11    income including just under a million dollars from a company         11               THE COURT: And you knew -

12   you formed with a CEO of a Chinese business conglomerate.             12               THE DEFENDANT: Well, I don't - I didn't write

13    Is that the same or a different Chinese company from the one         13   this. Your Honor, so the characterization —

14   you referenced earlier?                                               14               MR. CLARK; Can we elaborate the time there,

15                THE DEFENDANT: X started a company called                15   Your Honor?

16    Hudson West, Your Honor, and my partner was associated with          16               THE COURT: Yes.

17    a Chinese energy company called CEFC.                                17               MR. CLARK: So essentially there was a tax

18                THE COURT: Who was your partner?                         18   treatment that was undertaken in that year, and it changed

19                THE DEFENDANT: I don't know how to spell his             19   the tax treatment at the very end of the year for a

20    name, Yi Jianming is the chairman of that company.                   20   particular asset. And so I think the point is, and I didn't

21                THE COURT; Is that company still in existence?           21   write this either, there was substantial influx of income

22                THE DEFENDANT: No.                                       22   during that year. There was an issue with this last minute

23                THE COURT: Okay. Then it says you made                   23   tax treatment change, and so there were expressions at times

24    $666,666 from your domestic business interest. Is that the           24   of surprise at that. I think the government's point is you

25    Rosemont Seneca one?                                                 25   knew you made a lot of money, it shouldn't have come as a



                                                           66                                                                           68


 1                THE DEFENDANT: Yes, Your Honor, I believe                 1   surprise.

 2    that's what it refers to.                                             2               THE COURT: My only concern is when I read this

 3                THE COURT: $664,000 from a Chinese                        3   as a lawyer, it shouldn't have come as a surprise, that

 4    infrastructure investment company. Is that one of the                 4   doesn't preclude Mr. Biden from saying yes, it did.

 5    companies we've already talked about?                                 5               MR. CLARK: Your Honor's characterization is

 6                THE DEFENDANT: I believe so, yes. Your Honor.             6   exactly right.

 7                THE COURT: Which one is that?                             7               THE COURT: You're saying it actually was a

 8                THE WITNESS: I believe CEFC.                              8   surprise?

 9                THE COURT: Okay. $500,000 in director's fees              9               MR. CLARK: In that year.

10    from the Ukrainian energy company. That's the one that you           10               THE COURT: You guys are okay with that?

11    already told me about?                                               11               MR. WISE: Yes, Your Honor.

12                THE DEFENDANT: Same, Burisma.                            12               THE COURT: All right. But you did know that
13                THE COURT: Burisma.                                      13   you owed tax money, right?

14                Okay. 48,000 from the law firm.                          14               THE DEFENDANT: Yes, Your Honor.

15                THE DEFENDANT: Yes.                                      15               THE COURT: And your business partner,

16                THE COURT: That's the Boise Schiller?                    16    Mr. Schwerin, told you that no withholdings had been made?

17                THE DEFENDANT: Yes, it is.                               17               THE DEFENDANT: Yes, Your Honor, I believe that

18                THE COURT: All right. Okay. The bottom of                18   to be the case.

19    that first page, the final paragraph says that the                   19               THE COURT: All right. In the third paragraph,

20    accountant sent copies of the tax documents, copies of the           20   which is actually the second full paragraph, it says on or

21    tax documents to your former business partner. Is that               21   about March 22nd, 2018, you received a million dollar

22    Mr. Schwerin?                                                        22   payment into your Owasco bank account as payment for legal

23                THE DEFENDANT: I believe that's who it's                 23   fees for Patrick Ho.

24    referring to, yes. Your Honor.                                       24               THE DEFENDANT: Yes, Your Honor.

25                THE COURT: All right. On the next page, at the           25               THE COURT: Who is that payment received from,

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 1   was that the law firm?                                                1               THE COURT: Okay. In the first full paragraph

 2              THE DEFENDANT: Received from Patrick Ho,Your               2   on the third one, it says after numerous programs and trips

 3   Honor.                                                                3   to rehab, you got sober in May of 2019, Do you see that?

 4              THE COURT; Mr. Ho himself?                                 4               THE DEFENDANT: Yes, Your Honor.

 5              THE DEFENDANT: Yes.                                        5               THE COURT: When I asked you earlier when you

 6              THE COURT: Were you doing legal work for him               6   last used or were under the influence of a controlled

 7   separate and apart from the law firm?                                 7   substance or a medication, you said June of 2019. What was

 8              THE DEFENDANT: Yes, Your Honor. Well -                     8   it that you did in June of 2019?
 9              MR. CLARK: That wasn't through Boise Schiller,             9               THB DEFENDANT: I was married on May of —

10   Your Honor, Mr. Biden was engaged as an attorney.                    10   May 17th of 2019, and that is my sobriety date.

11              THE COURT: Right. So that's why I asked. You              11               THE COURT: When I asked you earlier -

12   were doing work for him —                                            12               THE DEFENDANT: I was being conservative, Your

13              THE DEFENDANT: My own law firm, not as counsel.           13   Honor. I think in between that date to be technically and

14              THE COURT: So you had your own law firm as                14   completely honest from the day that I got married until

15   well?                                                                15   June 1st, I did have a drink or two.

16              THE DEFENDANT: I think Owasco PT acted as a -             16               THE COURT: Okay.
17   acted as a law firm entity, yeah.                                    17               THE DEFENDANT: So I count my sobriety date at
18              THE COURT: Okay.                                          18   least in the program that you attend as June 1st, so that's

19              THE DEFENDANT; I believe that's the case, but I           19   why I did that.
20   don't know that for a fact,                                          20               THE COURT: You said the program you attend. I

21              THE COURT: Okay. The final paragraph on the               21   thought you — are you attending a —

22   second page of the exhibit says that you received a little           22               THE DEFENDANT: No, a separate program that

23   bit more than $2.6 million in business and consulting fees           23    required anonymity. Your Honor.

24   from the company you formed with the CEO of the Chinese              24               THE COURT: Okay. But I am just trying to make

25   business conglomerate and the Ukrainian energy company, and          25   sure that we don't —



                                                          70                                                                       72


 1   — I guess originally I was asking if that was in addition             1               THE DEFENDANT: No, no, I'm not saying that

 2   to the money you had received from the — if that was in               2   there are any programs that I'm involved in right now, I'm

 3   addition to the money you had received from the law firm,             3   saying meetings that I go to, the sobriety date is often

 4   but I think we clarified earlier that —                               4   quoted.

 5              THE DEFENDANT: Yes, Your Honor.                            5               MR. CLARK; He draws a distinction between

 6              THE COURT: So I guess what I'm confused about              6   treatment and a program.

 7   is — so is that $2.6 million, that was in 2018?                       7               THE COURT: Okay.
 8               MR. CLARK: That's our understanding, Your                 8               THE DEFENDANT: And it's not -

 9   Honor.                                                                9               THE COURT; And I appreciate that, whether we

10              THE COURT: But it says in the first paragraph             10   call it a treatment or something, you are doing something to

11   of the exhibit for the work that you did for the Ukrainian           11   support your sobriety, is that correct?

12   company and the Chinese company and your domestic                    12               THE DEFENDANT: Yes, Your Honor.

13   businesses, it was $2.1 million,                                     13               THE COURT: Okay. All right. Then that
14               MR.CLARK: Your Honor, I think actually for               14    paragraph says that you did not make preparations to file or

15   this one, and again, we didn't write this, but we don't              15   actually file your 2018 individual or corporate income tax

16   dispute its accuracy, I think this may summarize a chain of          16   when it was due In 2019. Is that right?

17   payments that was made over a couple of years.                       17               THE DEFENDANT: Yes, Your Honor.

18               MR. WISE: Your Honor, as I read that, the                18               THE COURT: Okay. And it was due according to

19   reference in the first paragraph is to — is income and it's          19   this in October of 2019, Right?

20   more than — the language is more than 2,1 million in 2018,           20               THE DEFENDANT: Yes, Your Honor.

21   and by contrast the paragraph Your Honor just pointed out,           21               THE COURT: And you were sober at that time?

22   it's talking about fees he generated at about 2.6 million, I         22               THE DEFENDANT: I was. Your Honor,

23   think there were expenses that were business expenses that           23               THE COURT: But you didn't file your taxes.

24   would be taken from those fees that would get you to a lower         24               THE DEFENDANT: Yes, Your Honor, in putting my

25   income number that's north of 2.1 million.                           25   life back together, it was a flood, an enormous amount of

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 1 problems and by the time I was able to find someone to be             1 THE COURT; All right. In the next paragraph,

 2 able to help me, I was already past the deadline in which I           2 there are more references to self-assessed tax. Is that the

 3 should not have gone past.                                            3 same as we discussed previously, the amount of tax that he

 4 THE COURT: At the end of the next paragraph, it                       4 determined he owed?
 5 says that in 2020, during the process of putting together             5 MR. WISE: Yes, Your Honor.

 6 your 2017 and 2018 tax returns, you mischaracterized certain          6 THE COURT: And at the top of the last page, and
 7 personal expenses as legitimate business expenses. What's             7 also in I guess the last paragraph, or maybe even all those

 8 that referencing?                                                     8 paragraphs,there is a reference to a third party who paid

 9 MR. CLARK: Your Honor, it may be better if I                          9 your tax liability. Is it the same person who paid all of

10 explain it because Mr. Biden is actually not that close to           10 the outstanding liability?
11 the facts. In essence, in a very compressed time frame,              11 THE DEFENDANT: Yes, Your Honor. I took a loan

12 Mr. Biden was asked to identify for all of these tax years           12 from that individual,
13 that were being done from his credit cards and other bank            13 THE COURT: You took a loan?
14 accounts what's a business expense and what is a personal            14 THE DEFENDANT: Yes.
15 expense. And he was asked to go through charts and mark              15 THE COURT; Do you make payments on that loan?
16 them. And there are situations in which he made an error             16 THE DEFENDANT: Not currently. Your Honor, but

17 with regard to marking business expenses or personal                 17 it's a normal typical loan with terms and a time frame.

18 expenses. In several instances, most of them relate to one           18 THE COURT: Okay. All right. Let's talk now

19 account, which was a business line of credit account, which          19 about the paragraph 9, the appellant waiver provision.

20 he and his accountants treated as business expenses but that         20 Mr. Biden, your agreement contains an appellant waiver

21 he never reviewed the actual records for because the                 21 provision in paragraph 9. This waiver limits your ability

22 accountants couldn't get the records. So we concede that he          22 to appeal your sentence. Have you discussed this waiver

23 made mistakes, erroneous mistakes in categorizing some of            23 with your attorney?
24 these business and personal expenses. And that's what it             24 THE DEFENDANT: Yes. Yes, I have Your Honor.

25 refers to.                                                           25 THE COURT: Are you satisfied with the advice


                                                        74                                                                     76


 1 THE COURT: Do you know the approximate amount                         1 and counsel you have received with respect to the waiver?

 2 of money of these mistakes?                                           2 THE DEFENDANT: Yes, I am. Your Honor.

 3 MR. CLARK: That's what the discussion of the                          3 THE COURT: Now, X can read the waiver to you if

 4 dispute was. We see it in not minimizing, around $30,000              4 you would like me to or you can tell me that you're

 5 over the entirety of all the filings. I think the                     5 confident that you understand it. Do you want me to review

 6 government thinks it's higher. But that's part of what                6 it with you?
 7 we're going to shake out at sentencing. It is not massive             7 THE DEFENDANT: I'm confident that I understand
 8 amounts of money from the perspective of these tax returns.           8 it. Your Honor.

 9 And as this points out I think in the next sentence, during           9 THE COURT: Do you understand that it is a broad
10 the same year that these errors were made, Mr. Biden's               10 waiver provision and it.Ieaves you with narrow appellant

11 accountants erroneously overreported his income by several           11 rights should you disagree with your conviction or your

12 hundred thousand dollars. And so there is — there are                12 sentence?

13 errors going both ways in that year, some of them are these          13 THE DEFENDANT: Yes, Your Honor.
14 mistakes, and that mistake by his accountants.                       14 THE COURT: And that it leaves you little
15 THE COURT: And Just so I understand, are these                       15 ability to challenge your conviction or sentence?
16 things that he made these mistakes and gave them to his              16 THE DEFENDANT: Yes, Your Honor.
17 accountant and then they were corrected or he made these             17 THE COURT: Do you understand that it is
18 mistakes, gave them to his accountant and then those                 18 unlikely that the conditions that would allow you to appeal
19 mistakes ended up in the filing that were ultimately made to         19 will occur and you will likely have no relief should you
20 the Internal Revenue Service?                                        20 receive a sentence that is different than the one that you

21 MR.CLARK: It was the latter, the accountants                         21 anticipate?
22 didn't catch the mistakes.                                           22 THE DEFENDANT: Yes, Your Honor.

23 THE COURT: And again, sir, this was done after                       23 THE COURT: All right. I find that the
24 you were already sober?                                              24 Defendant has knowingly and voluntarily waived his appellant

25 THE DEFENDANT; Yes, Your Honor.                                      25 rights.
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 1 Now, as Mr. Wise said earlier, I want to talk to                         1 what the sentencing guideline calculation might be for the

 2 you a little about the sentencing process in federal court.              2 offenses to which you are pleading guilty?

 3 It's not required in a misdemeanor case, but I am going to               3 THE DEFENDANT; Yes, Your Honor.

 4 ask the United States Probation Office to prepare a                      4 THE COURT: And do you understand that if I
 5 presentence investigation report to the Court before                     5 impose a sentence that is harsher or longer or more severe

 6 sentencing. You and the government will have a chance to                 6 than the one that you may anticipate, you will still be
 7 review and challenge the facts in that report. Do you                    7 bound by your plea and will not have the right to withdraw

 8 understand that?                                                         8 it on that basis?
 9 THE DEFENDANT: Yes, Your Honor.                                          9 THE DEFENDANT: Yes, Your Honor.

10 THE COURT: It's been my responsibility under                            10 THE COURT: All right. Now I want to talk about
11 the statute, 18 United States Code Section 3553(a) to impose            11 some of the rights that you waive if you plead guilty. Do

12 a sentence that is sufficient but not greater than necessary            12 you understand that you have the right to plead not guilty
13 to provide punishment and afford deterrents. Under the                  13 to this offense, to persist in your plea of not guilty and

14 current law I have to follow a three-step process, First, I             14 to have a trial by jury on the offense during which you
15 have to consider the sentencing guidelines that's been                  15 would also have the right to the assistance of counsel and

16 calculated by the probation office and any objections to                16 the right to see and hear all of the witnesses and have them

17 those guidelines. Then, I have to rule on any motions for a             17 cross-examined on your behalf?

18 departure from those guidelines and explain how those                   18 THE DEFENDANT: Yes, Your Honor.

19 motions if granted would impact the guidelines. And                     19 THE COURT: The standard of proving guilt is
20 finally, I have to consider all of the factors in the                   20 beyond a reasonable doubt and it is the highest standard of

21 statute including personal factors that would help me to                21 proof in our justice system. If the government failed to

22 determine what an appropriate sentence is. And that                     22 establish your guilt beyond a reasonable doubt, you would be

23 sentence may, again, vary either upwards or downwards from              23 acquited of the charges against you. Do you understand

24 the guidelines.                                                         24 that?
25 The government has agreed not to oppose a                               25 THE DEFENDANT: Yes, Your Honor.



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 1 sentence of probation, but it's important that you                       1 THE COURT: Do you understand that at trial you
 2 understand that without reviewing the presentence report, I              2 would have the right on your own part to decline to testify

 3 can't predict for you today whether I will agree that that's             3 or to put on any evidence at all and that if you decided not

 4 an appropriate sentence or not. Do you understand that?                  4 to testify or to put on any evidence, that could not be used

 5 THE DEFENDANT: Yes, Your Honor.                                          5 against you?
 6 THE COURT: Do you also understand that parole                            6 THE DEFENDANT: Yes, Your Honor.

 7 has been abolished and that to the extent that you were                  7 THE COURT; Do you understand that if the case
 8 given any period of imprisonment, you would not be released              8 were to go to trial, it would be the government's burden to

 9 on parole from that imprisonment?                                        9 prove to the jury, again, beyond a reasonable doubt, each of

10 THE DEFENDANT: I understand that. Your Honor.                           10 the essential elements of the offenses charge and the jury

11 THE COURT: Do you understand that if you're                             11 would have unanimously agree as to your guilt?

12 sentenced to a term of incarceration followed by a period of            12 THE DEFENDANT: Yes, Your Honor.

13 supervised release or a period — if you were given a period             13 THE COURT: Do you further understand that by
14 of probation, if you are found in violation of the                      14 entering a plea of guilty, there will be no trial and you

15 conditions of your supervised release or your probation that            15 will have waived and given up your right to trial by jury as
16 that may be revoked and you would have to serve additional              16 well as the rights associated with that trial?
17 time in prison if you were imprisoned or if you were on                 17 THE DEFENDANT: Yes, Your Honor.
18 probation that you might have to serve time in prison?                  18 THE COURT: I'm going to ask the prosecutor to

19 THE DEFENDANT: Yes, Your Honor.                                         19 summarize for us what the government would be prepared to

20 THE COURT: Do you understand that your sentence                         20 prove if the case were to go to trial,

21 may include payment of a fine or payment of restitution, and            21 MR. WISE; Your Honor, I have read in its

22 it will include a mandatory special assessment for each                 22 entirety the factual statement that we would be prepared to

23 offense to which you plead guilty?                                      23 prove,

24 THE DEFENDANT: Yes, Your Honor.                                         24 THE COURT: All right. Do you want to tell me
25 THE COURT: Have you discussed with your counsel                         25 how that meets the essential elements?

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 1 all defenses based on statute of limitations with respect to            1 local law.

 2 charges in the information and any other federal firearm                2 Paragraph 11, in paragraph 11 Biden acknowledges

 3 charges that could be brought with respect to the conduct               3 and agrees to the statement of facts that are Attachment A

 4 set forth in the statement of fact which again is Attachment            4 to this agreement and he agrees that they're truthful and

 5 A, And he agrees that the applicable statute of limitation              5 accurate.

 6 period for any charges arising under the firearms purchase              6 Paragraph 12, Biden agrees that neither he nor

 7 shall be tolled during the diversion period. He agrees not              7 anyone else at his direction will make any statement in

 8 to assert any speedy trial rights under the Sixth Amendment             8 litigation or otherwise repudiating or contradicting the

 9 or Federal Rule of Criminal Procedure 48(b) B or any local              9 statement of fact. If the United States believes such a

10 rule here in the District of Delaware.                                 10 contrary statement has been made, and such statement

11 Paragraph 8 provides that it is the intent of                          11 constitutes a knowing material breach, then the United

12 this agreement for Biden to agree to be subject to the                 12 States may seek a determination regarding such alleged

13 Jurisdiction of and venue in the United States District                13 breach pursuant to the procedures set forth in paragraph 14.

14 Court for the District of Delaware with respect to the                 14 Starting in paragraph 13, it lays out the
15 charge set forth in the information and for any federal                15 procedure if there is a breach. First, paragraph 13, Biden

16 charges arising out of the firearms purchase set forth in              16 agrees that a knowing failure to abide by or fully perform

17 the statement of facts.                                                17 any of the terms, promises, or agreements set forth in this

18 Paragraph 9 and its subparagraph are the                               18 Agreement shall constitute a breach of this Agreement.

19 commitments and undertakings of Biden and that includes not            19; Paragraph 14 provides that if the United States

20 purchasing, possessing, attempting to purchase firearms as             20 believes that a knowing material breach of this Agreement

21 that term is defined in the relevant statute during the                21 has occurred, it may seek a determination by the United

22 diversion period, consent to a permanent entry in the                  22 States District Judge for the District of Delaware with

23 National Instant Criminal Background Check System such that            23 responsibility for supervision of this agreement. Upon

24 he will be denied via NICS if he attempts to legally                   24 notice to Biden the United States may seek a determination

25 purchase another firearm.                                              25 on a preponderance of the evidence presented to such



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 1 And then paragraph C, I'm not going to read the                         1 District Judge. Biden shall have the right to present

 2 entire paragraph, but it's a provision that the gun in                  2 evidence to rebut any such claim. If after that process the

 3 question is forfeited to the United States.                             3 judge overseeing such process makes a final determination

 4 Starting at paragraph 10 —                                              4 that Biden has committed a knowing material breach of this

 5 THE COURT: Could I ask to you pause for one                             5 agreement, then the United States may elect from two

 6 second, I forgot my glasses and I'm going to ask someone in             6 remedies that are specified in the agreement depending on

 7 the back to get my glasses, but I didn't want her to open               7 the nature and seriousness testify breach.

 8 the door and freak people out.                                          8 Remedy 1, which is a sub A of paragraph 14 is

 9 All right. Apologies, go ahead.                                         9 the United Stales may give Biden a specific time period in
10 MR. WISE: Starting at paragraph 10, or in                              10 which to remedy the breach. If the United States determines

11 paragraph 10 and subparagraph are additional conditions                11 that Biden has failed to remedy the breach during the

12 applicable to the diversion period and these include that              12 specified time period, then the United States may elect

13 Biden is subject to supervision as directed by U.S.                    13 Remedy 2. Remedy 2 is the United States may prosecute Biden

14 Probation and Pretrial Services; that he continue to                   14 for any federal criminal violation in which the United

15 actively seek employment; that he refrain from unlawfully              15 States has knowledge including crimes relating to the

16 possessing controlled substance; that he refrain from using            16 conduct set forth in the statement of facts, which is

17 alcohol; that he submit to substance abuse testing and                 17 Attachment A, and that includes obstruction of justice and

18 participate in substance abuse treatment as directed by the            18 any such prosecution is not time barred by any statute of

19 U.S. Probation and Pretrial Services Office in this                    19 limitation on the date of signing of this agreement,

20 district; that he submits to fingerprinting by the FBI and             20 notwithstanding the statute of limitation between the

21 it describes what will be done with that fingerprint and how           21 signing and the commencement of such prosecution.

22 it will be preserved for a time; that he communicate in                22 And finally, the United States does not require

23 writing all international travel plans and provide                     23 to offer Remedy 1 before proceeding to Remedy 2 if in its

24 documentation, if requested, to U.S. Probation and Pretrial            24 sole determination the nature and the serious of the breach

25 and that he not commit a violation of any federal, state or            25 warrants termination of the agreement.

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 1 Paragraph 15 is the agreement not to prosecute.                           1 was kind of why I was asking the government the question.

 2 The language, the United States agrees not to criminally                  2 So if 922(g)(3), which makes it unlawful for a
 3 prosecute Biden outside the terms of this agreement for any               3 drug user addict to possess a gun were found by some court

 4 federal crimes encompassed by the attached statement of                   4 to be unconstitutional, what happens to the Diversion

 5 facts. Attachment A, and the statement of facts attached as               5 Agreement?

 6 Exhibit 1 to the Memorandum of Plea Agreement filed this                  6 MR. WISE: Your Honor, the Diversion Agreement

 7 same day. This Agreement does not provide any protection                  7 is a contract between the parties so it's in effect until

 8 against prosecution for any further conduct by Biden or by                8 it's either breached or a determination, period.

 9 any of his affiliated businesses. Obviously this paragraph                9 MR. CLARK: I can tell you our intention would

10 has been orally modified by counsel for Mr. Biden and we                 10 be to abide by the agreement and only raise such

11 would — I'm not going to attempt to paraphrase it. I don't               11 constitutional determining at such time that somebody tried

12 want to make the record muddy. The statement by counsel is               12 to bring any charges on this, otherwise it's an agreement

13 obviously as Your Honor acknowledged a modification of this              13 between the parties. We are going to honor the agreement,

14 provision, and that we believe is binding.                               14 THE COURT: I have had one or two cases

15 Paragraph 16, starting paragraph 16,there are                            15 involving a person struggling with addiction who bought a
16 general terms and conditions, the parties consented to the               16 gun, we usually see a felony charge for false statement.

17 public disclosure of this agreement, and shall be publicly               17 The Defendant has admitted that his statement was false, but

18 filed. The parties stipulate and agree that the conduct set              18 he wasn't charged. Again, I'm not trying to get into the

19 forth in the statement of facts does not constitute relevant             19 purview of the prosecutor, and I understand the separation

20 conduct for the offenses, to the tax offenses, which Your                20 of powers, it's in your discretion, but I just want to ask,
21 Honor has identified as a similar provision in the Plea                  21 does the government have any concern about not bringing the

22 Agreement, that the firearms offense is not relevant conduct             22 false statement charge in light of our discussion of

23 for the tax charge.                                                      23 922(g)(3) and the constitutionality of that charge.
24 Paragraph 18 this agreement may be executed in                           24 MR. WISE; No, Your Honor.

25 counterparts, each of which constitutes an original and all              25 THE COURT: Paragraph 7 says that the statute of


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  1 of which constitutes one and the same agreement.                         1 limitations is waived. Can you just tell me when would the

 2 And paragraph 19 is an incorporation agreement                            2 statute of limitation be waived on a charge for false

 3 like in the Plea Agreement, this agreement sets forth all of              3 statement if the Diversion Agreement were not in place?

 4 the terms of the agreement between the United States and                  4 MR. CLARK: When would it run. Your Honor?

 5 Biden. It constitutes a complete and final agreement                      5 THE COURT: I understand it's tolled by the
 6 between the United States and Biden in this matter. There                 6 agreement. I have concerns about the agreement, that's why

 7 are no other agreements written or otherwise modifying the                7 I'm asking these questions, so if the agreement weren't

  8 terms, conditions or obligations of this agreement. No                   8 there.

 9 future modifications or additions of this agreement in whole              9 MR. CLARK: It would be October 2023.

10 or in part shall be valid unless they are set forth in                   10 MR. WISE: October 12th, 2023.
11 writing or signed by the United States, and Biden and                    11 THE COURT: All right. Thank you.
12 Biden's counsel.                                                         12 All right. Now I have reviewed the case law and

13 THE COURT: All right. Thank you.                                         13 I have reviewed the statute and I had understood that the

14 Mr. dark, any corrections you want to make?                              14 decision to offer the defendant, any defendant a pretrial

15 MR. CLARK: No, Your Honor.                                               15 diversion rest squarely with the prosecutor and consistent

16 THE COURT: The information charges Mr. Biden                             16 with that, you all have told me repeatedly that's a separate

17 with violation of 18 United States Code 922(g)(3). Does                  17 agreement, there is no place for me to sign off on it, and

18 anyone have any concerns about the constitutionality of that             18 as I think I mentioned earlier, usually I don't see those

19 charge in light of the recent Third Circuit Range case?                  19 agreements. But you all did send it to me and as we've

20 MR. WISE: No, Your Honor.                                                20 discussed, some of it seems like it could be relevant to the

21 MR.CLARK: Your Honor, I note our — that's one                            21 plea.
22 of the reasons the parties I think are in the disposition we             22 One provision in particular stands out to me,

23 are in. We don't waive in a later prosecution any                        23 and that is paragraph 14. That paragraph says if the United
24 challenges on that.                                                      24 States believes that a knowing material breach of this

25 THE COURT: I completely understand that. That                            25 agreement has occurred, it may seek a determination by the

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 1 United States District Judge for the District of Delaware               1 that finding?
 2 with responsibility for the supervision of this agreement.              2 MR. WISE: No.

 3 It then goes on to say that if I do find a breach, then the             3 THE COURT: And you don't have any precedent for

 4 government can either give the Defendant time to remedy the             4 that, right?
 5 breach or prosecute him for the crime that is the subject of            5 MR. WISE: No, Your Honor.

 6 the information or any other that falls within the language             6 THE COURT: Do you have any authority that any
 7 of the agreement. Do I have that understanding correct?                 7 Court has ever accepted that or said that they would do

 8 MR. CLARK; That's my understanding of the                               8 that?
 9 provision. Your Honor.                                                  9 MR. WISE: No, Your Honor, this was Grafted to
10 THE COURT: So can you tell me what's                                   10 suit the facts and circumstances.

11 contemplated by that, how it would work?                               11 THE COURT; I'm concerned that that provision

12 MR. WISE: So, Your Honor, obviously the                                12 makes me a gatekeeper to criminal charges and puts me in the

13 Diversion Agreement covers offenses related to firearms, so            13 middle of a decision as to whether to bring a charge. And

14 if there was a breach, then he could be charged with — the             14 we already talked about separation of powers and that choice

15 offenses related to that firearm as well as perjury,                   15 as to whether to bring charges is not — that's the

16 obstruction of justice, and any prosecution not barred by              16 executive branch, not the judicial branch, so is this even

17 the statute of limitations related to that.                            17 constitutional?
18 MR. CLARK: I think Your Honor may be asking the                        18 MR. CLARK: I believe it is. Your Honor, because

19 functionality of your involvement. And the concept was                 19 what the structure makes clear is that Your Honor is just

20 along the lines of a VOSR where a situation is brought to              20 finding facts,

21 the Court and the Court would make a factual determination             21 THE COURT: But no charges — usually in these

22 in the first instance that there was a violation of                    22 agreements, right, Mr. dark, the prosecutor says we think

23 supervised — I mean, diversion is not supervised release,              23 he breached, and I don't mean to point it out, I'm not

24 but in some senses it can be, and so the idea was that the             24 saying you're going to breach.

25 Court would determine whether or not there was a violation             25 MR. CLARK: I understand.



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 1 and then the government would move on to a remedy.                      1 THE COURT; We're doing a hypothetical.

 2 THE COURT: First it got my attention because                            2 MR. CLARK: I understand the question.

 3 you keep telling me that I have no role, I shouldn't be                 3 THE COURT: The prosecutor says there is a

 4 reading this thing, I shouldn't be concerned about what's in            4 breach. Judge, we got to move forward on the information.

 5 these provisions, but you have agreed that I will do that,              5 You then come forward and you're like, Judge, he didn't

 6 but you didn't ask me for sign off, so do you have any                  6 breach, review this, okay, so that's the standard. The

 7 precedent for that?                                                     7 government has — the executive branch has already made a

 8 MR. WISE: Your Honor, no. No, I don't have                              8 determination we are going to proceed with the charges.

 9 precedent.                                                              9 Now, the government cannot make the decision to proceed with

1 0 THE COURT: As I read it, tell me if I'm reading                       10 charges absent involving the Court.

11 this correctly, that under the agreement as you all have               11 MR. CLARK: Respectfully, Your Honor, I don't

12 drafted it the only way that charges could ever be brought             12 think that's the way it's structured and I do think the way

13 is if I have the hearing that you all agreed that I have to            13 it's structured may get some way past your concern. What it

14 have, right?                                                           14 is is that it's not that the government has decided to bring

15 MR. WISE: Yes.                                                         15 charges, it's that the government believes there is a

16 THE COURT: So if I don't have a hearing or make                        16 breach. In paragraph 14, the government brings the breach

17 a finding, no criminal charges can be pursued for the gun              17 to Your Honor and says we need a determination of whether

18 charge or any other federal charge within the scope of the             18 there is a breach. So it's not a question that we've

19 agreement not to be prosecuted, right?                                 19 decided what to opt into, we've decided what to do, we want

20 MR. WISE: I believe that's right. Your Honor,                          20 your — it's Your Honor, we believe there is a factual

21 THE COURT: So is there some requirement that                           21 dispute between the parties, not a breach, we would like you

22 you have that I have to make that finding that you all                 22 to make a factual determination.

23 agreed that I would without asking?                                    23 THE COURT: Why can't you do that in the normal

24 MR. WISE: Is there some -                                              24 way? As I read this, the government has no discretion to

25 THE COURT: Requirement that says I have to make                        25 bring charges if it believes that a breach has occurred

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 1 unless I opine.                                                           1 he has protection and he doesn't.

 2 MR. CLARK; Can we approach and discuss one                                2 MR. CLARK: Absolutely, Your Honor. I think the

 3 issue with Your Honor?                                                    3 analogy to a VOSR is not a bad analogy. The government

 4 THE COURT: You mean because it's confidential?                            4 comes to the Court and it says Your Honor, we believe there

 5 MR. CLARK; Yeah.                                                          5 has been a violation of supervised release. Unless you,

 6 THE COURT: Okay. You're going to have to make                             6 Judge, make a factual finding that that's happened, we can't

 7 — you're going to have to make a showing as to why. As I                  7 do what we would normally do with regards to this Defendant.

 8 understand, once we're in court in the Third Circuit, it's                8 Right? And again, it's the fact and then the discretion.

 9 essentially strict scrutiny, so can you explain to me why                 9 Right? And so here it's very analogous to that process

10 this is something that cannot go on the record?                         10 which is not a violation of separation of powers. I

11 MR. CLARK: It relates to the plea discussions                           11 understand what your Your Honor is saying,

12 between the parties generally which aren't discussed                    12 THE COURT: I think I might need a little bit
13 publicly.                                                               13 more on this because it is confusing to me. But let me —

14 THE COURT: I will allow you to have — we will                           14 or concerning I should say more than confusing,

15 have a discussion on the sealed portion, but you're going to            15 Let me ask you this, if that provision violates

16 have to convince me that it needs to be maintained as                   16 the constitution, what happens to the Diversion Agreement?

17 sealed. All right? Because I can't — it's hard for me to                17 MR. CLARK: If that provision violates the

18 say that in the abstract if you're saying that's a plea                 18 constitution, the diversion — first of all, I'm not aware

19 discussion.                                                             19 of a manner in which we can challenge the Diversion

20 MR. CLARK: Your Honor, let me try to handle it                          20 Agreement, but if it did, I think we would say that, if it's

21 separately. There was a desire because of there being as                21 unconstitutional, right —

22 Your Honor has seen a tremendous amount of political drag               22 THE COURT: The way I'm seeing it is the
23 with this Defendant that the normal mechanism that might                23 government decides — not to be politicized, the government

24 take place would have the protection of the Court not in the            24 decides we're going to bring a charge and you say no, that's

25 discretion to bring a charge, but in finding a breach,and               25 prohibited by the Diversion Agreement, and the government



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 1 so that that wouldn't be something that would become more                 1 says that Diversion Agreement is unconstitutional. You

 2 politicized, but rather would be something that the parties               2 don't have the protection of it. So I'm not going to not

 3 could rely on, someone we consider a neutral arbiter to                   3 voice my concerns when I think that there are — you know,

 4 determine the breach, not the charge.                                     4 you telling me we're not going to challenge it, that really

 5 THE COURT: I understand. Look, I knew why you                             5 doesn't —

 6 brought it, okay, I could see why you would want that                     6 MR. CLARK: No, I'm not saying that. Your Honor,

 7 provision in here, but I don't — you are putting me — the                 7 Under those circumstances we would have a contractual

 8 government, the executive branch has the discretion to bring              8 dispute about this contract between the government and us

 9 charges. Here, the government does not have discretion to                 9 and that would get litigated like any other contractual

10 continue to pursue this charge or any other charge unless               10 dispute would get litigated. That's what this is.

11 you include the Court. And that seems like it's getting                 11 THE COURT: But what if it is unconstitutional,

12 outside of my lane in terms of what I am allowed to do. And             12 what happens to the Diversion Agreement?

13 thus, I have concerns about the constitutionality of this               13 MR.CLARK; I think it's valid but for this
14 provision. That gives me concerns about the                             14 provision.

15 constitutionality of this agreement because there doesn't               15 THE COURT: Is there a severability provision?
16 seem to be a separate severability, and that gives me                   16 MR. CLARK: There isn't, but there is nothing

17 concerns about whether the Defendant has the protection from            17 that says it is a unitary contract either, it's kind of half

18 prosecution that he thinks he's getting if this agreement               18 and half. There is no merger clause or severability clause,

19 turns out to be not worth the paper it's written on.                    19 so in my — it's a toss up on that, right. Your Honor.

20 MR.CLARK: Your Honor, all -                                             20 THE COURT: So if I say that I am not going to
21 THE COURT: My concern is, and part of what I                            21 do what is requested, what you all have agreed that I am

22 have to do is knowing and voluntary, and I can't let him —              22 going to do, what happens to the Diversion Agreement?

23 I'm not convinced this is a plea under subsection B, but                23 MR. CLARK: If you're saying it right now in a

24 even if it is, and all I have to say is, is it knowing and              24 binding manner —

25 voluntary. I can't let him plead to something if he thinks              25 THE COURT: I'm just asking you, I'm not making

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 1 a finding, I'm asking you because I'm trying to exercise due              1 between United States and individuals, but it contemplates a

 2 deliberation and consideration and make sure that we don't                2 role for a judicial officer that then affects the ability of
 3 make a misstep.                                                           3 the government to bring charges.

 4 So Mr. Wise, if I say I'm not doing it,your                               4 THE COURT: I take your points on the analogy to
 5 contract has an impossibility in there because nothing can                5 the VOSR, but I know, I asked if there is any precedent for

 6 happen, I understand Mr. dark might say that's fine, Your                 6 this, I was told no. I was asked if there is any authority

 7 Honor, but the government, what happens if I say I'm not                  7 for this, I was told no. And I get the analogy, but I don't

 8 going to do that, you can agree I'm going to do it, but I'm               8 think that I can on the fly make the analogy that you're

 9 not?                                                                      9 asking me to make or even, you know, you're telling me that

10 MR. WISE: So in negotiating these terms we                               10 this is — so that this is appropriate. So I am not sure —

11 obviously agreed to — as Your Honor has pointed out,the                  11 I'm not sure what to do with that. It may be that you're

12 executive branch has the authority to bring charges, we have             12 correct, that that's an appropriate analogy, but it may be

13 agreed to a limitation, if you will, that is predicated on               13 that you are not.

14 the Court taking certain action. If the Court declines to                14 MR. CLARK; May I propose something. Your Honor?

15 take the action contemplated by the agreement, we would have             15 You don't have to — there is no action again, not to — I

16 to examine whether there were other ways to seek the                     16 know you don't necessarily want to hear that all the time,

17 enforcement of the agreement.                                            17 that you have to take with a regular Diversion Agreement.

18 MR. CLARK: And there is a way to modify the                              18 Can I propose that Your Honor can take time with regard to

19 agreement obviously between the parties. Your Honor, so by               19 this provision, inform the parties, and if you find that the

20 written modification we could modify that provision if Your              20 provision is improper, and we can even brief it to you, I'll

21 Honor said I won't participate,                                          21 commit with the government that we'll work under

22 THE COURT: All right. So what are you talking                            22 paragraph 19 to implement another procedure. But again, I

23 about?                                                                   23 don't think that needs to hold up today's disposition,

24 MR. CLARK: I'm saying that if Your Honor said                            24 THE COURT: The problem that I have, I'm not

25 I've determined that this isn't proper, I'm not going to                 25 sure that it doesn't. Again, you all are telling me just



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 1 participate, we would work on provision, paragraph 19 which                    rubber stamp the agreement. Your Honor, because all we're

 2 says that, you know, we can modify or add to the agreement                2 doing is recommending a plea. But it seems like the

 3 with the written consent of the parties and we would come up              3 argument you're making is form over substance. What's funny

 4 with an alternative dispute resolution system.                            4 to me is you put me right smack in the middle of the

 5 I personally. Your Honor, I mean, again, I don't                          5 Diversion Agreement that I should have no role in, you plop

 6 mean to hang everything on a VOSR analogy, I have done many               6 meet right in there and then on the thing that I would

 7 of them in my life, I don't think it is unconstitutional, I               7 normally have the ability to sign off on or look at in the

 8 think it's very fair question from the Court, I don't think               8 context of a Plea Agreement, you just take it out and you

 9 it is, but I think if the Court were to determine it was not              9 say Your Honor, don't pay any attention to that provision

10 appropriate, we would modify the contract and you would                  10 not to prosecute because we put it in an agreement that's

11 determine on another dispute resolution.                                 11 beyond your ability.
12 MR. WISE: The analogy that I would offer. Your                           12 So this is what I am going to do. These

13 Honor, VOSR's statutory framework is many U.S. Attorney's                13 agreements are not straightforward and they contain some

14 offices' practice around the country have proffer agreements             14 atypical provisions. I am not criticizing you for coming up

15 or Queen for a day agreements where a defendant — a                      15 with those, I think that you have worked hard to come up

16 defendant, a witness, a target will sit down, make certain               16 with creative ways to deal with this. But I am not in a

17 statements pursuant to an agreement and some of those                    17 position where I can decide to accept or reject the Plea

18 agreements have provisions that in the event that the                    18 Agreement, so I need to defer it,

19 government believes there is a breach that they lied, they               19 First, I don't know which rule this falls under.

20 will go to a judicial officer for a determination and if                 20 I am not convinced that it is actually a plea under

21 that is the case and the agreement is deemed void, then                  21 subsection B, which you all suggest is me rubber stamping

22 charges, for instance, 1001 charges making a false statement             22 the plea if it's a knowing plea. But even if it were, I

23 to a law enforcement officer could be brought. So I think                23 have testimony under oath both that the Defendant is

24 that's a similar — and those agreements unlike VOSR are not              24 concerned about ensuring that he has immunity from

25 governed by an elaborate statutory scheme, they're contracts             25 additional charges, and also that well, he doesn't need that

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 1 in terms of the Plea Agreement. So I need to think about                     1 MR. CLARK: Fine with us, Your Honor.

 2 that.                                                                        2 MR. WISE; I would also say. Your Honor, we're

 3 Additionally, I need some understanding as to                                3 not asking the Court to rubber stamp anything.

 4 why this is a plea under B and that my concern about the                     4 THE COURT: It certainly sounds like it. Tell

 5 form over substance of the agreement not to prosecute is not                 5 me again what you think my role is for a plea under

 6 valid, or why I should do this. So I would like some                         6 ll(b)(l)(B).
 7 briefing, additional briefing on why subsection B is the                     7 MR. WISE; It's not what I think the Court's

 8 appropriate section, and if I were to determine that this                    8 role --

 9 actually is a plea under subsection A, it would be helpful                   9 THE COURT: I agree, I read the rule, the rule

10 to me to have your views on what it is that makes this plea                 10 says I couldn't accept or reject, you're saying it's not a

11 acceptable, because I'm not saying that it is not, but                      11 rubber stamp, so what is It I do?

12 nobody seems to really have given me that what I would need                 12 MR. WISE; You don't take action on the Plea

13 if I were to determine that as I read this as a whole, I                    13 Agreement. What Rule ll(c) says is for Rule (c)(l)(B) the
14 think that that really is what is in front of me. So I need                 14 Court must advised the Defendant that the Defendant has no

15 that.                                                                       15 right to withdraw the plea if the Court does not follow the

16 And then I would like as you offered, Mr. dark,                             16 recommendation or request. So the rule does not contemplate

17 you guys can go back and work on whether or not you can take                17 the Court taking any position on the agreement if it's a

18 out that provision and come up with something else that's                   18 (c)(l)(B), rather the rule requires the Court to give that

19 acceptable, and while you do that, you might, though I'm not                19 advisement, and that is the extent of the Court's role. And

20 trying to tell you how to negotiate the Diversion Agreement,                20 this has been briefed not in this circuit, but in other

21 you might fix that one paragraph that you have orally                       21 circuits and we can certainly include that, that's not my

22 modified today.                                                             22 view —

23 I would like to understand why that provision,                              23 THE COURT: I certainly understand what — if

24 if you want it to go forward is appropriate, and why I am                   24 it's a plea under subsection (c)(l)(B), I am not going to

25 not doing something that gets me outside of my lane in terms                25 just agree with you as to the limits of my role. My problem



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  1 of my branch of government if I were to do what is being                    1 is I am not — I am not sure, and I need to understand the

 2 requested.                                                                   2 propriety, it may very well be that it is appropriate, but

 3 Does that make sense?                                                        3 as I said, it did catch my attention, you throw me in there,

 4 MR. CLARK; That makes sense. Your Honor. I                                   4 Judge, you're the gatekeeper and then you take me out of the

 5 think that the parties have been very eager to resolve this                  5 other aspects of the — you throw me into the Diversion

  6 matter, and it has been pending for an extended period of                   6 Agreement and then you take me out of the Memorandum of Plea

  7 time.                                                                       7 Agreement.

  8 THE COURT: It hasn't been pending for that long                             8 So I cannot accept the Plea Agreement today. I

 9 a period of time, I know that when you guys first called,                    9 mean, based on what you just said, Mr. Wise, Mr. dark, if

10 you said you would send me the agreements on a Tuesday or a                 10 you want, I can accept a guilty plea while I defer my

11 Thursday and you wanted to have the hearing within a few                    11 decision on the Plea Agreement, which the Supreme Court said

12 days. I couldn't accommodate that schedule, but the fact                    12 is appropriate in the Hyde case, 520 U.S. 670 (1997), if

13 is,this is a — this is our normal course of timing of                       13 your client wants to plead guilty pending my determination

14 things and so I understand, and I certainly understand why                  14 on the Plea Agreement.

15 you want to get this resolved, but I am not in a position                   15 MR. CLARK: We're pleading guilty pursuant to

16 where I can do that now. So if you guys want to tell me                     16 the Plea Agreement, Your Honor, so that would not be

17 when you're thinking you can get me the papers that I'm                     17 something that we would do.

18 asking for.                                                                 18 THE COURT: Does that mean that I need to take a

19 MR. WISE: Your Honor, we would — what X would                               19 plea of not guilty?
20 anticipate is we'll need to order the transcript from                       20 MR. CLARK; I believe you do. Your Honor.

21 today's proceeding to address some of the issues you have                   21 THE COURT: All right. So Mr. Biden, I know you

22 raised to make sure we're precisely addressing what you're                  22 want to get this over with, and I'm sorry, but I do want to

23 asking us to, so I think building in a little bit of time to                23 make sure that I am careful in my view of this. So I do

24 get the transcript and then a reasonable amount of time                     24 need some more information. And part of that is making sure

25 after that to submit, I would say at least fourteen days.                   25 that your plea gets you what you think it gets and part of

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 1 it Is making sure that I do justice as I'm required to do in

 2 this court. So I need some additional information. I'm not

 3 saying I'm not going to reject the plea, I'm not saying I'm

 4 going to accept the Plea Agreement. I need more

 5 information.

 6 So at this point I'm just going to ask you,

 7 without the Plea Agreement, without me saying that I would

 8 agree to the Plea Agreement, how do you plead to the charges

 9 that we have been discussing?

10 THE DEFENDANT: Not guilty, Your Honor.

11 THE COURT: Thank you.

12 So I will look forward to the parties'

13 submissions. And after we have a chance to review those, we

14 will either issue an order as to what we're planning to do

15 with the plea or we'll have a status conference or we'll get

16 back here.

17 Do we need to do anything else? I know that we

18 talked about we were on the clock now. Can we exclude the

19 time, that gives me some time to look at these for

20 thirty days or not?

21 MR. CLARK: I would imagine the Court can

22 exclude the time for briefing, yeah.

23 MR. WISE: We agree, Your Honor.

24 THE COURT: So we will do that. And after we

25 see it, we will take a look and get back to you.



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 1                Mr. Biden, I need you to Just stick around for a
 2   minute after we adjourn. I need you — my deputy is going
 3   to ask you to sign the release order that we talked about,
 4   and then I need you to go downstairs to the marshals for
 5   processing and to catch up with probation.
 6               All right?
 7               THE DEFENDANT: Yes, Your Honor.
 8               THE COURT: Anything else that we need to talk
 9   about while we are here today?
10                MR. WXSE: Not on behalf of the United States.
11                MR.CLARK: No,Your Honor.
12               THE COURT: Thank you.
13                (Court adjourned at 1:14 p.m.)
14
15                I hereby certify the foregoing is a true and
     accurate transcript from my stenographic notes in the proceeding.
16

17                             /s/ Dale C. Hawkins
                              Official Court Reporter
18                              U.S. District Court
19
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